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                        UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO, et al.,      §
      Plaintiffs,                        §
                                         §   Consolidated Case No. 5:21-cv-844-XR
v.                                       §
                                         §
GREGORY W. ABBOTT, et al.,               §
     Defendants.                         §



       Documents Produced with State Defendants’ Initial Disclosures
                          November 5, 2021


           Copy Filed with the Court November 15, 2021 (ECF 112)

                                   Senate Bill 1
                              Legislative Session: 87
                              Second Special Session

                                      Part VII
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Date: November 15, 2021                        Respectfully submitted.

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                                    CERTIFICATE OF SERVICE

     I certify that a true and accurate copy of the foregoing document was filed electronically (via
CM/ECF) on November 15, 2021, and that all counsel of record were served by CM/ECF.

                                              /s/ Patrick K. Sweeten
                                              PATRICK K. SWEETEN
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 1             (e) AA A registrar          shall        correct          a violation          within        30 days       of

 2   a notice     under     Subsection           (b).          If a registrar              fails    to correct           the

 3   violation         within     30    days      of       a    notice       under         Subsection           (b),     the

 4   secretary     of state       shall:

 5                      (1) AA correct         the     violation            on behalf         of the       registrar;

 6   and

 7                      (2) AA notify       the        attorney             general        that     the     registrar

 8   failed     to correct       a violation           under         this    subsection.

 9             (f) AA A county          served       by        a registrar           who    fails     to    correct        a

10   violation      under       Subsection           (e)       is liable       to this        state       for    a civil

11   penalty     of $1,000        for    each     violation             corrected           by the     secretary          of

12   state     under     that     subsection.                  The    attorney         general        may       bring     an

13   action     to recover       a civil       penalty           imposed       under       this    section.

14             (g) AA A civil      penalty        collected             by the       attorney         general          under

15   this    section     shall     be deposited                in the       state     treasury        to the      credit

16   of the general         revenue      fund.

17             SECTION    A 7.02. AA Subchapter                  E , Chapter          31 , Election             Code,     is

18   amended     by adding       Sections        31.128          and 31.129          to read       as follows:

19             Sec. A 31.128.     AA RESTRICTION                 ON    ELIGIBILITY.                 (a)         In      this

20   section,     "election        official"           means:

21                      (1) AA a county        clerk;

22                      (2) AA a permanent            or temporary             deputy        county     clerk;

23                      (3) AA an elections             administrator;

24                      (4) AA a permanent             or temporary             employee           of an elections

25   administrator;

26                      (5) AA an election            judge;

27                      (6) AA an alternate             election            judge;




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 1                   (7) AA an early       voting     clerk;

 2                   (8) AA a deputy       early     voting       clerk;

 3                   (9) AA an election           clerk;

 4                   (10) AA the      presiding        judge        of     an    early        voting        ballot

 5   board;

 6                   (11) AA the      alternate       presiding          judge        of an early           voting

 7   ballot     board;

 8                   (12) AA a member         of an early         voting        ballot       board;

 9                   (13) AA the chair           of a signature          verification               committee;

10                   (14) AA the       vice       chair      of     a      signature               verification

11   committee;

12                   (15) AA a member         of a signature            verification              committee;

13                   (16) AA the       presiding            judge        of      a        central         counting

14   station;

15                   (17) AA the       alternate           presiding            judge         of     a     central

16   counting     station;

17                   (18) AA a central           counting     station         manager;

18                   (19) AA a central           counting     station         clerk;

19                   (20) AA a tabulation           supervisor;           and

20                   (21) AA an assistant           to a tabulation              supervisor.

21            (b) AA A person      may     not     serve     as   an     election           official        if   the

22   person     has been    finally      convicted         of an offense             under    this       code.

23            Sec. A 31.129.    AA CIVIL      PENALTY.        (a)      In this        section,           "election

24   official"     has the meaning         assigned         by Section          31.128.

25            (b) AA An    election      official      may     be   liable           to    this     state     for    a

26   civil    penalty     if the official:

27                   (1) AA is employed           by or is an officer                  of this        state      or a




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 1   political        subdivision             of this        state;          and

 2                      (2) AA violates               a provision             of this        code.

 3             (c) AA A civil             penalty          imposed        under        this       section        may     include

 4   termination            of    the       person     ’s    employment              and      loss       of    the      person     ’s

 5   employment        benefits.

 6             SECTION       A 7.03. AA Subchapter                  E , Chapter             31 , Election               Code,     is

 7   amended       by adding          Section        31.130        to read          as follows:

 8             Sec. A 31.130.           AA SUIT       AGAINST            ELECTION           OFFICER.               An    action,

 9   including         an        action       for      a    writ        of      mandamus,            alleging           that      an

10   election        officer          violated        a provision               of this         code       while      acting      in

11   the     officer    ’s official               capacity           may      only      be      brought          against         the

12   officer       in the officer             ’s official           capacity.

13             SECTION       A 7.04. AA Section              232.006         (a),      Election          Code,       is amended

14   to read     as follows:

15             (a) AA The         venue       of an election               contest         for     a statewide            office

16   is in Travis           County          or any     county           where       a contestee             resided       at the

17   time    of the     election.               For    purposes            of this         section,           a contestee          ’s

18   residence        is determined             under        Section          411.0257          , Government            Code.

19             SECTION       A 7.05. AA Sections               232.008          (b),       (c),      and      (d),      Election

20   Code,     are amended            to read       as follows:

21             (b) AA Except            as provided           by Subsection                 (c),     a contestant               must

22   file    the     petition           not    later        than     the      later        of     the    45th      [30th]        day

23   after     the     date       the     election          records           are      publicly          available          under

24   Section       1.012         or   the     official        result          of     the     contested           election         is

25   determined.

26             (c) AA A contestant                  must     file       the     petition           not      later       than     the

27   later     of the 15th            [10th]      day after             the date        the election             records         are




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                                                                                                          S.B. A No. A 1

 1   publicly         available        under       Section         1.012     or     the    official        result     is

 2   determined         in a contest         of:

 3                       (1) AA a primary           or runoff        primary        election;        or

 4                       (2) AA a general           or special          election         for which        a runoff    is

 5   necessary         according       to the       official            result     or will       be necessary         if

 6   the contestant            prevails.

 7              (d) AA A contestant            must    deliver,           electronically            or otherwise,

 8   a   copy     of     the    petition        to     the        secretary         of     state     by     the     same

 9   deadline         prescribed       for the filing              of the petition.

10              SECTION      A 7.06. AA The        heading         to    Title      14,     Election        Code,     is

11   amended      to read       as follows:

12            TITLE      14.    ELECTION       CONTESTS            AND OTHER        ELECTION       LAWSUITS

13              SECTION      A 7.07. AA Title         14,    Election        Code,        is amended       by adding

14   Subtitle         D to read     as follows:

15                              SUBTITLE       D.     OTHER       ELECTION         LAWSUITS

16          CHAPTER      247.      LAWSUIT      ALLEGING           IMPROPER        ELECTION        ACTIVITIES

17              Sec. A 247.001.        AA PETITION            ALLEGING            FRAUD.           This       chapter

18   applies      to a civil        suit     in which            a candidate         in an election           alleges

19   in the petition            that   an opposing            candidate,           an agent      of the opposing

20   candidate,         or     a person      acting         on    behalf      of    the    opposing        candidate

21   with       the    candidate       ’s    knowledge             violated         any     of     the     following

22   sections         of this    code:

23                       (1) AA Section        13.007 ;

24                       (2) AA Section        64.012 ;

25                       (3) AA Section        64.036 ;

26                       (4) AA Section        84.003 ;

27                       (5) AA Section        84.0041       ;




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 1                         (6) AA Section         86.0051           ;

 2                         (7) AA Section         86.006 ;

 3                         (8) AA Section         86.010 ; or

 4                         (9) AA Section         276.013           .

 5             Sec. A 247.002.         AA PROCEDURE.                      A    candidate             in     an       election         may

 6   file    a petition         for an action              under           this      chapter          in any county              where

 7   a defendant           resided     at the time              of the election.                        If the election                 is

 8   for    a statewide         office,          the     candidate                 may    also       file      the     petition         in

 9   a district       court        in Travis           County.

10             Sec. A 247.003.         AA FILING          PERIOD              FOR PETITION.                 A candidate              in an

11   election        may     file     a petition           for          an     action          under        this       chapter        not

12   earlier        than     the    day     after        the        date       the       election           is       certified        and

13   not    later    than     the     45th       day     after          the    later          of that          date     or the       date

14   election       records         are made       publicly              available              under       Section          1.012 .

15             Sec. A 247.004.         AA DAMAGES.                        (a)        If         it        is         shown       by      a

16   preponderance            of     the     evidence            that          a    defendant,              an       agent      of    the

17   defendant,        or     a person           acting        on       behalf           of    the    defendant              with     the

18   defendant       ’s knowledge            committed              one       or more          violations             of a section

19   described         by     Section            247.001,               the     defendant              is        liable       to      the

20   plaintiff        for damages           in an amount                 of $1,000             for each          violation.

21             (b) AA Notwithstanding                     Section               41.004 ,             Civil           Practice         and

22   Remedies        Code,     a court           shall     award           damages            under       Subsection            (a)     to

23   the    plaintiff          irrespective               of        whether              the     plaintiff              is    awarded

24   actual     damages.

25             Sec. A 247.005.         AA ATTORNEY             ’S       FEES.            In     an     action           under        this

26   chapter,        the      court        may     award        reasonable                    attorney          ’s    fees      to    the

27   prevailing        party.




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 1               SECTION      A 7.08. AA Section              273.061         , Election           Code,    is amended              to

 2   read    as follows:

 3               Sec. A 273.061.          AA JURISDICTION.                     (a) AA The       supreme           court        or    a

 4   court       of    appeals           may     issue        a     writ        of     mandamus            to     compel           the

 5   performance            of     any     duty        imposed           by     law     in    connection               with        the

 6   holding        of an election              or a political                 party     convention,              regardless

 7   of     whether        the     person        responsible               for        performing           the        duty     is    a

 8   public      officer.

 9               (b) AA The        court        of     criminal           appeals            may     issue        a     writ        of

10   mandamus         to    compel        the    performance               of    any     duty       imposed           by     law    in

11   connection             with         the     provision,                sequestration,                   transfer,               or

12   impoundment            of     evidence            in     or     records           relating            to     a    criminal

13   investigation            conducted              under    this       code       or conducted            in connection

14   with    the conduct           of an election               or political             party       convention.                If a

15   writ     of mandamus           is issued           under       this        subsection,           it shall             include

16   an     order      requiring           the        provision,               sequestration,               transfer,               or

17   impoundment            of the evidence             or record.

18               SECTION      A 7.09. AA Subchapter                 D , Chapter          22 , Government                Code,       is

19   amended        by adding        Section          22.304        to read         as follows:

20               Sec. A 22.304.       AA PRIORITY             OF CERTAIN             ELECTION        PROCEEDINGS.                  (a)

21   The     supreme        court,        the     court        of    criminal            appeals,          or     a court           of

22   appeals        shall     prioritize             over     any other          proceeding           pending           or filed

23   in    the    court       a proceeding              for     injunctive              relief       or     for       a writ        of

24   mandamus         under      Chapter         273 , Election               Code,      pending          or filed           in the

25   court       on    or     after        the        120th        day        before      a    general            or       special

26   election.

27               (b) AA If granted,              oral       argument          for     a proceeding              described           by




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 1   Subsection        (a) may be given             in person        or through         electronic               means.

 2            SECTION       A 7.10. AA Section          23.101 , Government                 Code,           is    amended

 3   by    amending     Subsection            (a)    and    adding       Subsection         (b-1)           to    read    as

 4   follows:

 5            (a) AA Except       as provided              by Subsection           (b-1),        the    [The]        trial

 6   courts     of    this     state     shall       regularly           and    frequently             set       hearings

 7   and    trials     of     pending     matters,           giving       preference         to        hearings          and

 8   trials     of the following:

 9                      (1) AA temporary            injunctions;

10                      (2) AA criminal         actions,          with    the following            actions           given

11   preference        over    other     criminal          actions:

12                               (A) AA criminal            actions       against        defendants               who    are

13   detained        in jail    pending        trial;

14                               (B) AA criminal            actions       involving          a    charge           that     a

15   person     committed        an     act    of    family       violence,        as    defined            by    Section

16   71.004 , Family          Code;

17                               (C) AA an offense            under:

18                                        (i) AA Section          21.02        or 21.11 , Penal              Code;

19                                        (ii) AA Chapter            22 , Penal         Code,      if       the    victim

20   of the alleged           offense     is younger          than     17 years      of age;

21                                        (iii) AA Section               25.02 ,     Penal        Code,           if     the

22   victim     of the alleged           offense       is younger         than     17 years        of age;

23                                        (iv) AA Section            25.06 , Penal        Code;

24                                        (v) AA Section          43.25 , Penal          Code;         or

25                                        (vi) AA Section             20A.02 (a)(7),              20A.02 (a)(8),

26   or 20A.03 , Penal          Code;

27                               (D) AA an offense            described          by Article            62.001 (6)(C)




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 1   or (D),        Code    of Criminal           Procedure;           and

 2                                  (E) AA criminal              actions           against            persons          who     are

 3   detained        as provided           by Section            51.12 , Family                 Code,       after     transfer

 4   for prosecution               in criminal          court        under        Section        54.02 , Family           Code;

 5                         (3) AA election           contests              and     suits         under        the     Election

 6   Code;

 7                         (4) AA orders          for     the        protection             of        the     family         under

 8   Subtitle        B, Title        4, Family          Code;

 9                         (5) AA appeals          of     final         rulings           and         decisions         of     the

10   division         of      workers      ’     compensation               of      the        Texas        Department           of

11   Insurance           regarding         workers       ’ compensation               claims           and     claims        under

12   the Federal           Employers       ’ Liability           Act and the Jones                    Act;

13                         (6) AA appeals         of final           orders        of the        commissioner            of the

14   General        Land     Office       under    Section           51.3021       , Natural           Resources         Code;

15                         (7) AA actions          in    which        the     claimant           has        been    diagnosed

16   with      malignant            mesothelioma,                other           malignant             asbestos-related

17   cancer,        malignant         silica-related                 cancer,        or acute          silicosis;         and

18                         (8) AA appeals         brought        under           Section        42.01        or 42.015 , Tax

19   Code,     of orders           of appraisal            review          boards         of    appraisal           districts

20   established            for counties          with     a population              of less           than    175,000.

21             (b-1) AA Except             for    a criminal           case        in which           the     death     penalty

22   has     been     or    may    be     assessed         or    when        it    would        otherwise           interfere

23   with     a constitutional                 right,      the       trial        courts         of    this     state        shall

24   prioritize            over    any other       proceeding              pending         or filed          in the court            a

25   proceeding            for    injunctive        relief           under        Chapter        273 , Election              Code,

26   pending        or     filed     in    the     court        on    or     after        the    120th        day     before         a

27   general        or special          election.




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 1                   ARTICLE          8.    INELIGIBLE            VOTERS        AND RELATED            REFORMS

 2             SECTION       A 8.01. AA Chapter                 42 ,    Code     of     Criminal          Procedure,            is

 3   amended        by adding         Article         42.0194          to read     as follows:

 4             Art. A 42.0194.             AA FINDING           REGARDING        FELONY          CONVICTION.            In the

 5   trial     of    a felony          offense,            if    the    defendant           is    18    years     of    age     or

 6   older     and is adjudged               guilty        of the offense,               the court         shall:

 7                      (1) AA make            an    affirmative               finding       that        the     person        has

 8   been    found     guilty          of a felony              and     enter    the     affirmative             finding        in

 9   the judgment           of the case;             and

10                      (2) AA instruct               the        defendant         regarding             how     the    felony

11   conviction        will       impact       the defendant              ’s right       to vote         in this       state.

12             SECTION       A 8.02. AA Article                 42.01 , Code       of Criminal             Procedure,           as

13   effective        September            1, 2021,         is amended          by adding          Section        16 to read

14   as follows:

15             Sec. A 16. AA In             addition             to     the      information              described             by

16   Section        1, the       judgment           should       reflect        the    affirmative              finding        and

17   instruction           entered         pursuant         to Article           42.0194.

18     ARTICLE        9.     REPEALER;              SEVERABILITY;              TRANSITION;             EFFECTIVE        DATE

19             SECTION       A 9.01. AA The following                    provisions              of the Election            Code

20   are repealed:

21                      (1) AA Section               85.062 (e);         and

22                      (2) AA Section               127.201      (f).

23             SECTION       A 9.02. AA If            any         provision            of        this      Act         or      its

24   application            to    any       person         or    circumstance               is    held     invalid,            the

25   invalidity        does       not affect           other          provisions        or applications                of this

26   Act     that     can        be    given        effect        without         the       invalid        provision            or

27   application,           and to this             end the provisions                 of this          Act are declared




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 1   to be severable.

 2             SECTION       A 9.03. AA (a)            Except        as otherwise              provided             by this       Act,

 3   the     changes        in     law      made        by     this        Act     apply        only          to     an     offense

 4   committed        on     or    after        the     effective           date        of    this       Act.        An     offense

 5   committed        before         the       effective          date      of this          Act     is governed                by the

 6   law    in effect         when       the    offense           was     committed,           and      the     former          law    is

 7   continued        in effect           for that          purpose.           For purposes               of this         section,

 8   an    offense      was       committed            before        the    effective              date       of    this     Act       if

 9   any element        of the offense                 occurred           before        that    date.

10             (b) AA The         changes         in     law       made     by     this        Act      apply        only       to     an

11   election        ordered         on    or     after        the      effective             date       of    this       Act.         An

12   election        ordered         before       the       effective            date     of this            Act    is governed

13   by the     law    in effect           when        the     election           was    ordered,             and     the    former

14   law is continued              in effect           for that           purpose.

15             (c) AA The         changes         in     law       made     by     this        Act      apply        only       to     an

16   election        contest         for       which     the       associated            election             occurred          after

17   the effective            date    of this          Act.

18             (d) AA The         changes         in     law       made     by     this        Act      apply        only       to     an

19   application           to vote         an early          voting         ballot        by mail            submitted           on or

20   after     the     effective           date        of    this       Act.       An        application             to     vote       an

21   early     voting      ballot          by mail          submitted            before        the      effective           date       of

22   this    Act     is governed            by the          law    in effect            when       the       application              was

23   submitted,         and        the     former           law      is    continued               in    effect           for     that

24   purpose.

25             (e) AA The         changes         in     law       made     by     this        Act      apply        only       to     an

26   application           for       voter        registration                   submitted              on     or     after           the

27   effective        date       of this        Act.




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1          SECTION   A 9.04. AA This   Act   takes   effect   on   the   91st    day   after

2   the last   day of the legislative        session.




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 1                                                          AN ACT

 2   relating        to       election              integrity            and        security,                including               by

 3   preventing          fraud         in     the     conduct            of     elections               in    this         state;

 4   increasing         criminal        penalties;           creating           criminal          offenses.

 5             BE IT ENACTED            BY THE LEGISLATURE                    OF THE STATE             OF TEXAS:

 6                                   ARTICLE         1.     GENERAL         PROVISIONS

 7             SECTION       A 1.01. AA SHORT             TITLE.         This        Act    may        be     cited        as    the

 8   Election      Integrity           Protection           Act of 2021.

 9             SECTION       A 1.02. AA PURPOSE.                   The        purpose        of        this     Act         is       to

10   exercise      the       legislature            ’s constitutional                 authority              under     Section

11   4 , Article        VI,     Texas        Constitution,               to    make        all    laws        necessary              to

12   detect      and punish         fraud.

13             SECTION       A 1.03. AA FINDINGS.                The legislature                 finds        that:

14                      (1) AA full,            free,            and          fair         elections                 are         the

15   underpinnings            of a stable           constitutional               democracy;

16                      (2) AA fraud           in    elections           threatens               the     stability              of    a

17   constitutional             democracy            by    undermining              public        confidence               in    the

18   legitimacy         of public           officers       chosen        by election;

19                      (3) AA reforms              are    needed        to     the     election              laws     of       this

20   state    to ensure         that        fraud    does       not    undermine           the     public       confidence

21   in the electoral            process;

22                      (4) AA the reforms                to the election               laws      of this           state       made

23   by   this    Act     are    not    intended           to    impair         the     right          of    free     suffrage

24   guaranteed         to    the    people          of    Texas       by     the     United           States        and    Texas




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 1   Constitutions,             but      are    enacted              solely        to      prevent            fraud      in     the

 2   electoral        process         and      ensure        that         all     legally            cast        ballots        are

 3   counted.         Integral         to    the     right       to    vote       is     the     assurance            of    voter

 4   access     and the right            for all votes               legally       cast        to be counted;

 5                      (5) AA additionally,                 preventing                a valid         vote       from      being

 6   counted     violates        the basic           constitutional                rights        guaranteed              to each

 7   citizen     by the United              States     Constitution;                  and

 8                      (6) AA providing              for     voter             access         and       increasing             the

 9   stability        of a constitutional                   democracy             ensures          public         confidence

10   in the legitimacy             of public         officers             chosen        by election.

11             SECTION    A 1.04. AA Chapter                1,        Election             Code,         is      amended         by

12   adding     Section       1.0015        to read     as follows:

13             Sec. A 1.0015.         AA LEGISLATIVE             INTENT.              It    is     the      intent         of   the

14   legislature         that      the      application              of    this        code      and     the      conduct        of

15   elections        be uniform         and consistent                throughout              this      state        to reduce

16   the   likelihood         of      fraud     in    the     conduct            of     elections,               protect        the

17   secrecy     of     the   ballot,          promote        voter         access,            and     ensure         that      all

18   legally     cast     ballots        are counted.

19             SECTION    A 1.05. AA Section               1.003 , Election                    Code,        is    amended        by

20   adding     Subsection         (a-1)       to read       as follows:

21             (a-1) AA Election              officials          and       other        public         officials            shall

22   strictly      construe        the       provisions          of this           code       to effect           the      intent

23   of the legislature               under     Section       1.0015.

24             SECTION    A 1.06. AA Section               1.005 , Election                    Code,        is    amended        by

25   amending      Subdivision              (4-a)    and     adding         Subdivision                (4-b)       to read       as

26   follows:

27                      (4-a) AA "Election              official"             means:




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                                                                                                     S.B. A No. A 1

 1                           (A) AA a county       clerk;

 2                           (B) AA a permanent           or temporary             deputy   county             clerk;

 3                           (C) AA an elections           administrator;

 4                           (D) AA a     permanent         or         temporary         employee              of   an

 5   elections     administrator;

 6                           (E) AA an election           judge;

 7                           (F) AA an alternate           election           judge;

 8                           (G) AA an early       voting        clerk;

 9                           (H) AA a deputy       early        voting        clerk;

10                           (I) AA an election           clerk;

11                           (J) AA the presiding              judge     of an early        voting             ballot

12   board;

13                           (K) AA the     alternate           presiding           judge       of        an    early

14   voting     ballot   board;

15                           (L) AA a member       of an early           voting        ballot        board;

16                           (M) AA the      chair         of      a         signature          verification

17   committee;

18                           (N) AA the    vice      chair       of      a    signature         verification

19   committee;

20                           (O) AA a     member          of       a         signature          verification

21   committee;

22                           (P) AA the     presiding           judge         of   a    central           counting

23   station;

24                           (Q) AA the    alternate            presiding           judge       of    a    central

25   counting     station;

26                           (R) AA a central        counting           station        manager;

27                           (S) AA a central        counting           station        clerk;




                                                      3
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 1                                    (T) AA a tabulation              supervisor;

 2                                    (U) AA an assistant              to a tabulation            supervisor;            and

 3                                    (V) AA a chair        of a county           political         party     holding          a

 4   primary        election          or a runoff       primary            election.

 5                      (4-b) AA "Federal               judge"         means:

 6                                    (A) AA a judge,        former          judge,       or retired         judge       of a

 7   United     States         court     of appeals;

 8                                    (B) AA a judge,        former          judge,       or retired         judge       of a

 9   United     States         district        court;

10                                    (C) AA a judge,        former          judge,       or retired         judge       of a

11   United     States         bankruptcy        court;       or

12                                    (D) AA a magistrate              judge,       former       magistrate         judge,

13   or retired        magistrate             judge   of a United             States       district        court.

14             SECTION         A 1.07. AA Section           1.018 , Election                Code,     is    amended        to

15   read   as follows:

16             Sec. A 1.018. AA APPLICABILITY                         OF    PENAL        CODE.      In     addition        to

17   Section        1.03 , Penal         Code,    and to other               titles       of the Penal        Code       that

18   may    apply     to       this    code,     Titles       2 and         [Title]        4,    Penal     Code,        apply

19   [applies]        to offenses             prescribed          by this       code.

20             SECTION         A 1.08. AA Chapter            1,        Election          Code,      is     amended         by

21   adding     Section         1.022     to read       as follows:

22             Sec. A 1.022. AA REASONABLE                   ACCOMMODATION                 OR    MODIFICATION.                 A

23   provision        of this          code    may    not    be interpreted                to prohibit         or limit

24   the    right       of       a     qualified          individual              with       a    disability             from

25   requesting            a    reasonable            accommodation                 or    modification             to     any

26   election        standard,           practice,          or procedure             mandated       by law         or    rule

27   that     the    individual           is    entitled          to    request          under    federal      or       state




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                                                                                                                  S.B. A No. A 1

 1   law.

 2                              ARTICLE        2.       REGISTRATION               OF VOTERS

 3             SECTION     A 2.01. AA Section              13.002 , Election                   Code,        is amended           by

 4   adding     Subsection           (c-1)    to read          as follows:

 5             (c-1) AA The          information               required           under        Subsections              (c)(3),

 6   (4),     (5),    (6),     and     (8)    must        be    supplied           by    the    person        desiring           to

 7   register        to vote.

 8             SECTION        2.02. AA Section             13.007 , Election                   Code,        is amended           to

 9   read    as follows:

10             Sec. A 13.007.         AA FALSE      STATEMENT            ON APPLICATION.                    (a) AA A person

11   commits     an offense          if the person              knowingly           or intentionally:

12                      (1) AA makes         a false       statement;              or

13                      (2) AA requests,            commands,            coerces,             or attempts           to induce

14   another         person      to     make        a      false       statement                on     a     registration

15   application.

16             (b) AA An       offense         under            this      section              is     a     Class         A     [B]

17   misdemeanor,          except       that      an      offense        under          this    section           is    a state

18   jail    felony      if the person:

19                      (1) AA directly              or        through        a     third            party         offers        or

20   provides        compensation            or     other        benefit           to     a    person        for       activity

21   described        by Subsection           (a);        or

22                      (2) AA solicits,                receives,            or     accepts           compensation               or

23   other     benefit       for an activity              described           by Subsection                 (a).

24             (c) AA If      conduct          that        constitutes                  an     offense            under        this

25   section     also      constitutes            an      offense         under          another           law,    the        actor

26   may    be prosecuted            under     this       section,           the    other           law,    or both.           [For

27   purposes        of this     code,       an offense              under        this       section        is considered




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                                                                                                               S.B. A No. A 1

 1   to be perjury,           but may be prosecuted                       only      under     this     section.]

 2               SECTION    A 2.03. AA Section               15.021 , Election                 Code,       is amended          by

 3   amending        Subsections              (b)    and     (d)       and    adding        Subsections             (d-1)     and

 4   (d-2)       to read    as follows:

 5               (b) AA Except         as     provided        by       Subsection            (d),     the    [The]      voter

 6   shall        use      the         registration                certificate                or      a     registration

 7   application           form       as the     notice,          indicating           the     correct       information

 8   in    the    appropriate               space     on     the       certificate            or     application            form

 9   unless       the    voter        does    not     have    possession              of the        certificate             or an

10   application           form    at the time             of giving          the notice.

11               (d) AA A voter         [who        continues          to reside            in the     county        in which

12   the voter          is registered]              may correct              information           under    this      section

13   by    digital          transmission               of     the         information               under       a     program

14   administered            by       the     secretary             of       state      and     the       Department           of

15   Information           Resources.

16               (d-1) AA If the notice                indicates             that     a voter       no longer         resides

17   in the       county     in which          the    voter        is registered,              the    registrar         shall

18   forward       the     notice       and    the     voter ’s application                    for    registration             to

19   the     registrar           of     the     county        in       which         the     voter        resides.            The

20   registrars           shall        coordinate            to    ensure           that     the     voter ’s        existing

21   registration           is canceled              immediately              after     the    voter       is registered

22   in    the     county         in     which        the         voter       resides         in      accordance            with

23   Subsection          (d-2).

24               (d-2) AA A       registrar             who         receives           a      voter ’s       notice           and

25   application           from        another        registrar              under      Subsection           (d-1)      shall

26   treat       it as an original               application              for    registration              under      Section

27   13.002 , and          shall       register         the        voter       if     the    voter        resides      in     the




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                                                                                                                      S.B. A No. A 1

 1   county      and is otherwise                  eligible          under        Section           13.001 .

 2             SECTION         A 2.04. AA Section               15.028 , Election                    Code,     is amended            to

 3   read    as follows:

 4             Sec. A 15.028.              AA NOTICE       OF UNLAWFUL              VOTING           OR REGISTRATION                [TO

 5   PROSECUTOR].                  [(a)]        If the     registrar              determines            that     a person           who

 6   is not      eligible            to vote        registered              to vote           or [a registered                voter]

 7   voted       in     an     election,            the    registrar               shall,           within      72     hours        not

 8   including             weekends          after        making           the     determination,                execute            and

 9   deliver          to     the    attorney         general,              the    secretary             of    state,        and     the

10   county       or       district         attorney           having         jurisdiction               in    the     territory

11   covered      by the election                  an affidavit              stating           the relevant           facts.

12             [(b) AA If            the     election            covers           territory            in     more         than     one

13   county,          the      registrar            shall           also      deliver           an      affidavit            to     the

14   attorney          general.]

15             SECTION             A 2.05. AA Section               16.0332       , Election             Code,        is    amended

16   by amending             Subsection            (a)     and      adding         Subsections               (a-1),        (d),     and

17   (e) to read            as follows:

18             (a) AA After               the     registrar                receives           notification              [a        list]

19   under       Subsection               (a-1)      of    this        section,               Section        18.068         of     this

20   code,       or    Section            62.113 ,        Government              Code,        of    persons         excused         or

21   disqualified              from        jury     service            because           of    citizenship             status        or

22   notification              of persons            who       indicate           a lack        of    citizenship             status

23   in   connection               with     a motor        vehicle           or    Department            of    Public         Safety

24   record      as provided               by Subsection               (a-1),       the registrar              shall        deliver

25   to   each        registered            voter     whose         name         appears        on    the     list     a written

26   notice       requiring               the     voter        to    submit         to        the    registrar             proof     of

27   United       States           citizenship            in     the       form     of    a certified            copy        of     the




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                                                                                                             S.B. A No. A 1

 1   voter ’s birth             certificate,            United         States        passport,        or    certificate

 2   of naturalization                  or any      other      form       prescribed          by the       secretary        of

 3   state.         The    notice        shall       be      delivered         by     forwardable           mail     to    the

 4   mailing        address       on the        voter ’s registration                  application           and     to any

 5   new address          of the voter           known        to the registrar.

 6             (a-1) AA The            secretary          of state          shall     enter     into       an agreement

 7   with    the     Department          of Public           Safety       under      which     information           in the

 8   existing          statewide             computerized                 voter        registration             list        is

 9   compared        against          information            in the         database      of the       Department           of

10   Public         Safety        on     a     monthly            basis      to      verify      the       accuracy         of

11   citizenship               status        information               previously             provided         on     voter

12   registration              applications.                 In     comparing         information            under        this

13   subsection,           the     secretary            of    state       shall       consider        only     a voter ’s

14   information           in the       database          of the       Department         of Public         Safety        that

15   was    derived       from     documents         presented              by the     voter     to the      department

16   after     the person         ’s current         voter         registration           became       effective,          and

17   may     not    consider           information            derived         from     documents           presented        by

18   the     voter        to    the      department            before         the     person     ’s    current        voter

19   registration              became    effective.

20             (d) AA The         secretary          of      state        shall      prescribe         rules        for    the

21   administration              of this       section.

22             (e) AA Not        later       than    December             31 of each          year,    the     secretary

23   of state        shall       provide       a report           to the      legislature          of the      number       of

24   voter     registrations              canceled           under     this     section       during       the calendar

25   year.

26             SECTION          2.06. AA Section              18.065 , Election               Code,     is amended          by

27   adding        Subsections          (e),     (f),     (g),       (h),     and (i) to read           as follows:




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                                                                                                                              S.B. A No. A 1

 1             (e) AA If          the        secretary                 of       state         determines                that        a        voter

 2   registrar            is     not     in        substantial                    compliance               with        a    requirement

 3   imposed         on    the         registrar              by       a        provision            or     rule           described            in

 4   Subsection           (a),    the secretary                     of state            shall:

 5                         (1) AA for         the       first          violation,              require           the       registrar            to

 6   attend     a training              course          under        Subsection               (h);

 7                         (2) AA for             the         second                 violation,                audit          the            voter

 8   registration               list     for          the    county             in    which     the        registrar              serves        to

 9   determine            the     actions              needed          to        achieve         substantial                  compliance

10   under     Subsection               (a)       and       provide             the     results           of    the        audit        to     the

11   registrar;           or

12                         (3) AA for             a     third          or         subsequent               violation,                   if     the

13   secretary         of state          determines                  that         the    registrar              has     not     performed

14   any     overt        actions            in       pursuance                 of     compliance               with        the     actions

15   identified           under        Subdivision                  (2)     as necessary                  for     the      registrar            to

16   achieve     substantial                  compliance               under           Subsection              (a)    within        14 days

17   of     receiving            the         results              of        the        audit         conducted               under            that

18   subsection,           inform         the          attorney             general           that     the       county           which        the

19   registrar        serves           may    be subject                to a civil             penalty           under        Subsection

20   (f).

21             (f) AA A county                is liable              to this            state        for    a civil            penalty          of

22   $1,000     for       each     day       after          the     14th         day    following              the    receipt            of the

23   results      of       the     audit           conducted                under        Subsection               (e)(2)          that         the

24   county    ’s voter          registrar                  fails      to take           overt        action          to comply               with

25   the    actions        identified                  under        that         subsection            as necessary                 for        the

26   registrar         to achieve                 substantial                   compliance           under           Subsection               (a).

27   The    attorney           general         may      bring          an action           to recover                a civil        penalty




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                                                                                                                   S.B. A No. A 1

 1   imposed        under     this    section.

 2              (g) AA A civil         penalty          collected             by the        attorney        general         under

 3   this    section         shall     be deposited             in the          state       treasury        to the         credit

 4   of the general           revenue       fund.

 5              (h) AA The      secretary             of     state           shall     develop        and     implement             a

 6   training         course         for    registrars                  on     substantial            compliance              with

 7   Sections        15.083 , 16.032 , and 18.061                            and with       rules     implementing             the

 8   statewide        computerized           voter          registration              list.

 9              (i) AA The      secretary             of state          shall        adopt        rules     and     prescribe

10   procedures        for the implementation                        of this          section.

11              SECTION      A 2.07. AA Section              18.068 , Election                    Code,     is amended          by

12   amending         Subsection           (a)        and     adding           Subsection           (a-1)        to    read     as

13   follows:

14              (a) AA The      secretary              of     state           shall        quarterly          compare          the

15   information            received       under       Section           16.001       of this        code    and Sections

16   [Section]         62.113        and    62.114 ,           Government               Code,       to     the      statewide

17   computerized            voter     registration                list.         If the       secretary            determines

18   that     a     voter     on     the    registration                     list     is    deceased          or      has     been

19   excused        or disqualified              from       jury    service           because       the voter          is not a

20   citizen        or a resident          of the county                 in which          the voter        is registered

21   to     vote,     the      secretary           shall           send       notice         of     the     determination

22   to A the     voter      registrar           of    the     counties              considered            appropriate          by

23   the secretary.

24              (a-1) AA The         secretary          of state             is not        required        to send         notice

25   under      Subsection         (a) for a voter                 who is subject                 to an exemption             from

26   jury       service        under       Section            62.106 ,              Government            Code,       if      that

27   exemption        is the only          reason           the voter          is excused           from    jury      service.




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                                                                                                                 S.B. A No. A 1

 1             SECTION        A 2.08. AA Section            31.006 , Election                 Code,           is amended        to

 2   read    as follows:

 3             Sec. A 31.006.         AA REFERRAL           [OF       COMPLAINT]             TO    ATTORNEY           GENERAL.

 4   (a)     If, after         receiving        or discovering                information                indicating           that

 5   [a     complaint          alleging]         criminal             conduct          in     connection               with     an

 6   election        has occurred,          the secretary               of state            determines              that   there

 7   is reasonable            cause     to suspect             that     [the    alleged]                criminal        conduct

 8   occurred,          the     secretary             shall        promptly            refer            the     information

 9   [complaint]         to the        attorney           general.          The    secretary                  shall     deliver

10   to the     attorney         general        all       pertinent       documents                and    information           in

11   the secretary           ’s possession.

12             (b) AA The            documents             and         information                  submitted              under

13   Subsection         (a) are not considered                    public       information                until:

14                      (1) AA the       secretary             of state        makes         a determination                  that

15   the      information              [complaint]                received             does         not         warrant         an

16   investigation;             or

17                      (2) AA if referred                 to the      attorney          general,              the    attorney

18   general     has completed             the investigation                   or has made               a determination

19   that     the     information           [complaint]                referred             does         not     warrant        an

20   investigation.

21             SECTION         2.09. AA Subchapter                B , Chapter           87 , Election                 Code,     is

22   amended     by adding           Section     87.028          to read       as follows:

23             Sec. A 87.028.         AA ACCESS           TO     INFORMATION.                     (a)     On     request,          a

24   county      election            official         shall       provide         to     a    member           of     an   early

25   voting         ballot       board         all        available            information                    necessary         to

26   fulfilling         the     functions            of    the    board,       including                 any    information

27   from     the     statewide          computerized                 voter       registration                   list      under




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                                                                                                                S.B. A No. A 1

 1   Section        18.061 .

 2                (b) AA On request,           a county           election        official           shall      provide      to

 3   a     member       of     a     signature         verification                committee           all       available

 4   information            necessary         to fulfilling              the functions             of the committee,

 5   including          any     information            from        the     statewide           computerized              voter

 6   registration             list    under        Section        18.061 .

 7                (c) AA The secretary              of state           shall     adopt      rules     as necessary           to

 8   prevent        a   member         of     an     early        voting        ballot        board        or    signature

 9   verification              committee             from         retaining            or     sharing           personally

10   identifiable             information             from        the     statewide           computerized               voter

11   registration             list     under       Section        18.061        obtained       under        this     section

12   for any reason            unrelated           to the official              ’s official          duties.

13                SECTION     A 2.10. AA Section               62.113 (b),               Government              Code,       is

14   amended        to read        as follows:

15                (b) AA On the       third        business        day    of each        month,       the    clerk       shall

16   send    a copy        of the      list        of persons           excused        or disqualified               because

17   of citizenship             in the previous              month       to:

18                       (1) AA the voter             registrar           of the county;

19                       (2) AA the secretary                of state;           and

20                       (3) AA the         county     or district               attorney[,          as applicable,]

21   for     an    investigation              of     whether        the        person       committed           an   offense

22   under     Section        13.007 , Election               Code,       or other          law.

23                SECTION     A 2.11. AA Sections             62.114 (b)          and       (c),    Government           Code,

24   are amended           to read      as follows:

25                (b) AA On the       third        business        day    of each        month,       the    clerk       shall

26   send     [to    the      voter     registrar            of    the    county]           a copy     of    the     list    of

27   persons        excused          or disqualified               in the        previous          month     because        the




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                                                                                                              S.B. A No. A 1

 1   persons     do not reside             in the county            to:

 2                        (1) AA the voter          registrar        of the county;               and

 3                        (2) AA the secretary              of state.

 4             (c) AA A list        compiled         under        this    section        may     not    be used          for    a

 5   purpose     other       than    a purpose          described          by Subsection               (b)    or Section

 6   15.081     or 18.068 , Election                 Code.

 7                    ARTICLE         3.     CONDUCT        AND SECURITY           OF ELECTIONS

 8             SECTION      A 3.01. AA Section            2.053 (a),            Election         Code,        is   amended

 9   to read     as follows:

10             (a) AA On receipt             of the       certification,                the    governing            body       of

11   the political          subdivision             by order       or ordinance            shall        [may]      declare

12   each     unopposed       candidate           elected         to the        office.        If no election                  is

13   to be held       on election            day     by the        political          subdivision,             a copy          of

14   the    order     or     ordinance            shall      be    posted        on     election         day       at     each

15   polling     place      used     or that        would     have       been    used     in the election.

16             SECTION      A 3.02. AA Section            2.056 (c),            Election         Code,        is   amended

17   to read     as follows:

18             (c) AA A certifying                authority         shall       [may]      declare           a candidate

19   elected     to an office              of the     state       or county        government            if,       were    the

20   election        held,       only       the      votes        cast     for     that        candidate            in     the

21   election       for that        office     may be counted.

22             SECTION      A 3.03. AA Sections              43.007 (c)          and      (d),     Election             Code,

23   are amended          to read     as follows:

24             (c) AA In conducting               the     program,        the     secretary            of state         shall

25   provide        for     an      audit      of     the     voting            system        equipment            [direct

26   recording       electronic             voting      units]       before        and    after        the     election,

27   and during       the election            to the extent              such    an audit        is practicable.




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                                                                                                             S.B. A No. A 1

 1             (d) AA The         secretary       of       state       shall      select        to    participate          in

 2   the program           each    county     that:

 3                         (1) AA has held       a public             hearing     under        Subsection        (b);

 4                         (2) AA has       submitted            documentation             listing           the      steps

 5   taken      to     solicit           input        on      participating               in      the      program         by

 6   organizations            or persons         who represent             the interests               of voters;

 7                         (3) AA has    implemented             a computerized                voter     registration

 8   list    that    allows         an election         officer          at the     polling          place      to verify

 9   that    a voter        has not previously                voted      in the election;

10                         (4) AA uses      direct       recording          electronic           voting       machines,

11   ballot     marking          devices,     or hand-marked               scannable            paper     ballots       that

12   are    printed        and     scanned       at    the    polling           place     or    any     other      type    of

13   voting     system           equipment       that      the     secretary        of     state        determines         is

14   capable       of processing             votes      for      each     type     of ballot           to be voted         in

15   the county;           and

16                         (5) AA is determined              by the secretary              of state          to have      the

17   appropriate           technological          capabilities.

18             SECTION       A 3.04. AA Section            43.031 (b),           Election         Code,      is amended

19   to read       as follows:

20             (b) AA Each         polling       place       shall       be located            inside     a building.

21   No    voter     may     cast     a vote          from     inside       a motor         vehicle          unless       the

22   voter     meets       the requirements             of Section          64.009 .

23             SECTION       A 3.05. AA Section            52.092 (a),           Election         Code,      is amended

24   to read       as follows:

25             (a) AA Except         as provided             by Section          2.053 (c)        or 2.056 (e),           for

26   [For]     an election           at which         offices          regularly        filled         at the      general

27   election        for    state     and    county        officers        are     to appear           on the      ballot,




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 1   the offices             shall     be listed          in the following              order:

 2                           (1) AA offices        of the federal              government;

 3                           (2) AA offices        of the state            government:

 4                                   (A) AA statewide             offices;

 5                                   (B) AA district             offices;

 6                           (3) AA offices        of the county            government:

 7                                   (A) AA county          offices;

 8                                   (B) AA precinct             offices.

 9                SECTION        3.06. AA Section           61.002 , Election                 Code,        is amended        to

10   read    as follows:

11                Sec. A 61.002.        AA OPENING         AND     CLOSING        POLLING         PLACE      FOR     VOTING.

12   (a)     Immediately               before      opening         the    polls        for    voting        on    the     first

13   day     of    early       voting       and      on    election         day,        the     presiding          election

14   judge        or    alternate          election         judge        shall     confirm          that     each        voting

15   machine           has    any    public       counter         reset     to     zero       and    shall        print     the

16   tape     that       shows       the   counter         was     set    to     zero     for    each       candidate        or

17   measure           on the ballot.

18                (b) AA At the         official          time     for    opening         the     polls      for     voting,

19   an election             officer       shall     open     the      polling      place       entrance           and    admit

20   the voters.

21                (c) AA Immediately               after         closing         the      polls       for        voting      on

22   election           day,     the    presiding           election           judge     or     alternate          election

23   judge     shall         print     the tape       to show          the number         of votes         cast     for each

24   candidate           or ballot         measure        for each       voting        machine.

25                (d) AA Each        election       judge        or alternate           election           judge     present

26   shall     sign       a tape       printed     under      this       section.

27                SECTION      A 3.07. AA Section            64.007 (c),          Election          Code,        is amended




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 1   to read       as follows:

 2             (c) AA An election                officer        shall         maintain           a register            of spoiled

 3   ballots        at     the    polling         place.        An       election           officer            shall      enter    on

 4   the register           the name          of each        voter       who returns               a spoiled           ballot     and

 5   the    spoiled         ballot       ’s number.            The       secretary            of       state     shall      create

 6   and promulgate              a form       to be used        for this             purpose.

 7             SECTION          A 3.08. AA Subchapter                A , Chapter             66 , Election               Code,     is

 8   amended        by adding          Section        66.004        to read          as follows:

 9             Sec. A 66.004.            AA POLLING          PLACE        CHECKLISTS.                    The     secretary         of

10   state         shall         adopt        rules      and         create           a     checklist               or     similar

11   guidelines            to     assist        the     presiding                 judge     of     a     polling         place     in

12   processing           forms        and conducting            procedures                required          by this       code    at

13   the opening           and closing           of the polling                   place.

14             SECTION          A 3.09. AA Section            85.005 , Election                    Code,        is amended         to

15   read    as follows:

16             Sec. A 85.005.            AA REGULAR          DAYS    AND HOURS             FOR VOTING.              (a)     Except

17   as    provided         by     Subsection           (c),        in    an        election           in    which       a county

18   clerk     [or       city     secretary]            is    the    early           voting        clerk        under      Section

19   83.002        [or    83.005 ], early              voting       by personal              appearance             at the       main

20   early     voting           polling         place    shall           be       conducted         on      each     weekday       of

21   [the    weekdays            of]    the     early    voting          period           that     is not       a legal         state

22   holiday        and    for     a period        of at least                nine       hours,        except       that    voting

23   may     not     be    conducted            earlier         than          6    a.m.     or     later        than       10    p.m.

24   [during        the     hours        that    the    county           clerk ’s or city                   secretary      ’s main

25   business        office        is regularly              open    for business.]

26             (b) AA In an election                    to which          Subsection               (a)       does    not    apply,

27   early      voting           by     personal         appearance                 at     the      main        early       voting




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 1   polling        place        shall       be    conducted                at     least           nine    [eight]            hours        each

 2   weekday        of the early             voting           period         that        is not a legal                state         holiday

 3   unless        the     territory           covered             by    the       election              has     fewer        than       1,000

 4   registered            voters.           In that          case,          the        voting          shall     be conducted               at

 5   least     four        [three]           hours        each          day.             The       authority            ordering            the

 6   election,            or   the     county        clerk             if     that          person        is     the     early        voting

 7   clerk,        shall       determine           which       hours          the voting                is to be conducted.

 8             (c) AA In         a    county         with          a    population                 of     55,000        [100,000]            or

 9   more,     the       voting        in a primary                election              or the          general         election           for

10   state     and        county        officers              shall           be       conducted            at     the        main       early

11   voting        polling        place        for       at    least          12       hours        on    each     weekday            of    the

12   last     week       of    the     early       voting              period,           and       the    voting         in    a special

13   election         ordered          by     the     governor                shall           be    conducted            at     the        main

14   early     voting          polling       place        for at least                      12 hours       on each        of the last

15   two    days     of the          early     voting           period.                Voting           under     this        subsection

16   may     not     be       conducted           earlier              than        6    a.m.        or    later         than        10     p.m.

17   Voting        shall        be    conducted               in       accordance               with       this        subsection            in

18   those         elections           in      a     county              with           a     population               under          55,000

19   [100,000]           on receipt          by the           early         voting           clerk        of a written               request

20   for the extended                hours        submitted              by at least               15 registered               voters        of

21   the     county.             The     request              must          be     submitted               in     time         to     enable

22   compliance           with       Section        85.067 .

23             (d) AA A voter            who       has     not         voted           before       the     scheduled            time       for

24   closing        a polling           place        is entitled                   to vote          after        that     time        if the

25   voter      is       in     line     at        the        polling              place           by     closing         time.             The

26   secretary           of    state     shall           promulgate                any       materials            and     provide           any

27   training        to presiding                 judges           necessary                to properly            process            voters




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 1   under     this       subsection                [In        an    election               ordered        by     a    city,      early

 2   voting        by    personal            appearance                at    the        main        early        voting        polling

 3   place    shall       be conducted                for at least                12 hours:

 4                        [(1) AA on            one       weekday,                if     the        early         voting         period

 5   consists       of less           than    six weekdays;                  or

 6                        [(2) AA on          two         weekdays,               if        the     early         voting         period

 7   consists       of six or more                 weekdays].

 8             SECTION         A 3.10. AA Sections                   85.006 (b)              and     (e),        Election         Code,

 9   are amended          to read         as follows:

10             (b) AA In           an     election              in        which         a     county         clerk         [or     city

11   secretary]           is       the     early          voting            clerk        under        Section           83.002      [or

12   83.005 ], only             the      early      voting           clerk        may    order        voting          on a Saturday

13   or Sunday.           The clerk           must       do so by written                    order.

14             (e) AA In a primary                    election            or the         general          election         for    state

15   and     county           officers           in       a     county        with           a     population            of      55,000

16   [100,000]           or     more,        the      early          voting        clerk           shall     order        voting      by

17   personal       appearance               [voting]           at the main              early       voting        polling        place

18   to be conducted               on the          last       Saturday            of the          early    voting        period     for

19   at least       12 hours,             except          that       voting         may      not     be conducted              earlier

20   than    6 a.m.       or later           than      10 p.m.,             [on    the       last     Saturday]          and     on the

21   last     Sunday          of    the      early            voting        period           for     at     least       six      [five]

22   hours,     except          that      voting          may       not     be conducted              earlier           than     9 a.m.

23   or     later       than       10     p.m       [on        the     last         Sunday          of     the        early      voting

24   period].           The     early      voting         clerk        shall           order       voting       to be conducted

25   at    those        times      in     those        elections              in       a county            with       a population

26   under     55,000          [100,000]            on        receipt        of        a written           request        for     those

27   hours    submitted            by at least                15 registered                 voters        of the county.            The




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 1   request          must    be submitted          in time      to enable              compliance            with      Section

 2   85.007 .            This         subsection           supersedes              any         provision               of      this

 3   subchapter          to the extent             of any conflict.

 4               SECTION       A 3.11. AA Section              85.010 (a-1),               Election                Code,            is

 5   amended          to read     as follows:

 6               (a-1) AA In          this     section,         "eligible               county         polling              place"

 7   means       an    early      voting       polling         place[,          other      than        a polling             place

 8   established             under    Section       85.062 (e),]            established              by a county.

 9               SECTION       A 3.12. AA Section          85.061 (a),            Election            Code,       is amended

10   to read      as follows:

11               (a) AA In      a countywide             election          in     which        the    county           clerk        is

12   the     early           voting     clerk       under       Section            83.002 ,          an      early          voting

13   polling          place     shall      be located          inside       [at]        each    branch           office        that

14   is regularly              maintained          for    conducting             general        clerical           functions

15   of    the    county        clerk,        except      as    provided           by     Subsection              (b).         If    a

16   suitable          room     is unavailable            inside        the      branch        office,           the    polling

17   place       may be located              in another        room    inside          the same        building             as the

18   branch       office.

19               SECTION       A 3.13. AA Section          85.062 , Election                   Code,        is amended              by

20   amending          Subsection            (b)    and     adding         Subsection             (f-1)           to   read         as

21   follows:

22               (b) AA A polling             place      established              under        this        section          may     be

23   located,          subject        to     Subsection        (d),        at    any    place         in    the    territory

24   served       by the       early       voting     clerk     and     may       be located           inside          [in]       any

25   building           [stationary             structure]            as        directed         by        the     authority

26   establishing              the      branch      office.            The       polling         place           may     not        be

27   located          in a movable         structure        in the general                election           for state            and




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                                                                                                                     S.B. A No. A 1

 1   county         officers,              general         primary            election,             or     runoff         primary

 2   election.                Ropes        or    other      suitable           objects            may     be     used      at    the

 3   polling        place          to    ensure        compliance          with        Section           62.004 .         Persons

 4   who     are    not        expressly           permitted         by       law     to     be    in     a polling          place

 5   shall     be excluded              from      the polling           place       to the extent               practicable.

 6             (f-1) AA Notwithstanding                       any       other       provision             of     this     section

 7   concerning            the      location           of temporary            branch        polling           places,       in an

 8   election            in        which         countywide             polling            places          are       used,       the

 9   commissioners                 court        of a county         shall       employ            the    same       methodology

10   it    uses     to    determine              the    location         of    countywide               polling       places       to

11   determine           the location             of temporary            branch         polling         places.

12             SECTION             3.14.         Section     87.002 , Election                     Code,       is amended          to

13   read    as follows:

14             Sec. A 87.002.              AA COMPOSITION           OF        BOARD.          (a)        The     early     voting

15   ballot        board       consists          of a presiding               judge,        an alternate              presiding

16   judge,        and at least             one [two]       other        member        [members].

17             (b) AA Except               as     provided         by     Subsection               (d),        the    presiding

18   judge     and       the       alternate           presiding         judge        are    [is]        appointed         in    the

19   same     manner          as    a presiding            election           judge        and     alternate          presiding

20   election        judge,             respectively.               Except          as      provided           by    Subsection

21   (c),     each        [the]         other      member      is       [members            are]         appointed         by    the

22   presiding           judge       in the same          manner        as the precinct                  election        clerks.

23             (c) AA In the               general       election         for       state         and    county       officers,

24   each    county           chair      of a political             party       with        nominees           on the     general

25   election        ballot           shall      submit     to the        county         election          board        a list     of

26   names     of persons               eligible        to serve         on the       early        voting        ballot      board

27   in    order      of       the      county         chair ’s     preference.                   The     county         election




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                                                                                                                    S.B. A No. A 1

 1   board     shall     appoint         at least           one person          from     each       list       to serve          as a

 2   member     of the early            voting        ballot       board.            The same          number       of members

 3   must     be appointed             from    each     list.           The    county         election           board       shall

 4   appoint       persons        as members           of the          early       voting         ballot       board        in the

 5   order     of preference             indicated           on each         list.

 6             (d) AA In        addition         to    the     members          appointed              under        Subsection

 7   (c),    the    county       election         board       shall          appoint        as the       presiding           judge

 8   the     highest-ranked              person        on     [from]         the     list        provided           under        that

 9   subsection           by     the     political             party          whose         nominee           for      governor

10   received          the      most       votes         in       the        county          in        the     most         recent

11   gubernatorial             general        election         and as the alternate                      presiding           judge

12   the      highest-ranked                  person         on        the     list         provided            under            that

13   subsection           by     the     political             party          whose         nominee           for      governor

14   received       the        second     most        votes        in    the       county         in    the     most        recent

15   gubernatorial             general        election.

16             SECTION       A 3.15. AA Section              124.002         , Election           Code,        is amended          by

17   adding     Subsection          (c) to read              as follows:

18             (c) AA Voting            system        ballots          may     not     be    arranged           in     a manner

19   that     allows      a political                party ’s candidates                    to    be    selected         in       one

20   motion     or gesture.

21             SECTION       A 3.16. AA Sections               127.006         (a)     and       (c),        Election        Code,

22   are amended         to read        as follows:

23             (a) AA The        [Both        the]     manager,          [and]        the    presiding              judge,        and

24   the     alternate          presiding            judge     may      appoint         clerks          to     serve        at    the

25   central       counting       station.

26             (c) AA A        clerk      appointed               by    the        manager         serves           under         the

27   manager       and   shall      perform           the    functions          directed           by the        manager.            A




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 1   clerk     appointed           by the        presiding         judge       or the         alternate           presiding

 2   judge        serves        under      the     presiding             judge         and     shall         perform        the

 3   functions        directed          by the presiding              judge.

 4             SECTION         A 3.17. AA Subchapter            A , Chapter            127 , Election               Code,    is

 5   amended       by adding           Section     127.009         to read       as follows:

 6             Sec. A 127.009.           AA ELECTRONIC               DEVICES           IN          CENTRAL          COUNTING

 7   STATION.         (a)       A counting         station      manager          and the presiding                  judge    of

 8   the     counting           station         shall       develop        a     protocol           under         which     any

 9   electronic               device      inside        a    central           counting             station         that     is

10   necessary           to count       votes      is equipped            with     software           that       tracks     all

11   input     and activity             on the electronic                device.

12             (b) AA The        counting         station      manager           and    the    presiding            judge    of

13   the     counting           station         shall       ensure        that     the        input        and      activity

14   tracked       by the        software        is delivered             to the        secretary            of state       not

15   later     than      the fifth        day after         vote     counting          is complete.

16             (c) AA This         section        applies      only       to a central              counting         station

17   located       in a county           with    a population            of 250,000           or more.

18             SECTION         A 3.18. AA Section           127.1232       , Election               Code,     is     amended

19   to read       as follows:

20             Sec. A 127.1232.           AA SECURITY         OF VOTED           BALLOTS.            (a)      The    general

21   custodian           of    election        records       shall       post     a licensed               peace     officer

22   [guard]        to     ensure       the      security       of       ballot        boxes        containing            voted

23   ballots       throughout           the period          of tabulation              at the central               counting

24   station.

25             (b) AA The         general        custodian          of    election           records         in     a county

26   with     a    population             of     100,000       or     more        shall        implement            a     video

27   surveillance              system     that     retains         a record        of        all    areas     containing




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 1   voted     ballots:

 2                         (1) AA from       the    time       the     voted       ballots       are    delivered        to

 3   the central           counting        station        until       the canvass          of precinct         election

 4   returns;        and

 5                         (2) AA from       the    time       the     voted       ballots       are    delivered        to

 6   the    signature         verification               committee         or early         voting      ballot       board

 7   until     the canvass          of precinct           election          returns.

 8             (c) AA A video           from       a system         implemented            under      Subsection        (b)

 9   shall     be made       available          to the public             by a livestream.

10             (d) AA The       video      recorded           is an election               record      under     Section

11   1.012     and    shall      be     retained          by     the      general        custodian       of    election

12   records       until      the    end     of the       calendar          year     in which         an election        is

13   held     or   until       an     election           contest          filed     in     the     county      has    been

14   resolved,        whichever         is later.

15             SECTION         3.19. AA Chapter                127 ,      Election         Code,       as     effective

16   September        1,     2021,      is      amended        by      adding       Subchapter         J to      read    as

17   follows:

18                                  SUBCHAPTER           J.      RANDOMIZED         AUDITS

19             Sec. A 127.351.          AA RANDOMIZED             COUNTY        AUDITS.          (a) AA Immediately

20   after     the     uniform         election           date       in   November         of    an    even-numbered

21   year,     the secretary            of state         shall        conduct      an audit        of the elections

22   held    in four        counties       during        the previous             two years.

23             (b) AA The       secretary           of state           shall      select     the      counties       to be

24   audited       under     Subsection            (a) at random,              except      that:

25                         (1) AA two      of      the    counties          selected         must      have      a   total

26   population        of less        than      300,000;

27                         (2) AA two      of      the    counties          selected         must      have      a   total




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 1   population         of 300,000             or more;     and

 2                      (3) AA a county             selected         in     the       most     recent        audit        cycle

 3   may not be selected               in the current              audit        cycle.

 4               (c) AA A county          selected         to be audited               may     not    pay    the     cost       of

 5   performing         an audit          under    this     section.

 6               (d) AA The secretary              of state        shall        adopt        rules    as necessary              to

 7   implement        this    section.

 8                         ARTICLE        4.     ELECTION         OFFICERS        AND OBSERVERS

 9               SECTION     A 4.01. AA Section             32.075 , Election                 Code,     is amended              by

10   adding      Subsections          (g) and (h) to read                  as follows:

11               (g) AA A presiding              judge      may    not     have        a watcher        duly       accepted

12   for    service          under        Subchapter          A,     Chapter            33 ,    removed            from     the

13   polling       place      for     violating           a provision            of     this     code       or    any     other

14   provision        of law      relating          to the        conduct        of elections,              other        than    a

15   violation        of the Penal             Code,     unless      the violation              was observed              by an

16   election       judge     or clerk.

17               (h) AA Notwithstanding                  Subsection             (g),     a presiding              judge     may

18   call     a law     enforcement               officer     to     request           that     a poll           watcher        be

19   removed       if   the       poll      watcher         commits         a    breach        of     the    peace         or    a

20   violation        of law.

21               SECTION     A 4.02. AA Subchapter                A , Chapter            33 , Election             Code,        is

22   amended       by adding         Section       33.0015         to read       as follows:

23               Sec. A 33.0015.          AA CHAPTER         PURPOSE            AND      WATCHER            DUTY.           The

24   purpose       of this        chapter         is to preserve             the       integrity        of the          ballot

25   box    in    accordance         with        Section      4 , Article              VI,    Texas     Constitution,

26   by providing           for     the    appointment             of watchers.                It is the          intent        of

27   the    legislature           that     watchers         duly     accepted           for     service          under     this




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                                                                                                                S.B. A No. A 1

 1   chapter     be        allowed     to   observe        and        report          on     irregularities               in    the

 2   conduct      of        any     election,        but     may       not        interfere             in    the     orderly

 3   conduct     of an election.                 To effect       that        purpose,           a watcher        appointed

 4   under     this    chapter        shall      observe      without             obstructing            the conduct              of

 5   an   election          and     call    to    the    attention               of    an     election         officer          any

 6   observed         or     suspected           irregularity               or        violation         of     law        in    the

 7   conduct     of the election.

 8             SECTION       A 4.03. AA Subchapter            A , Chapter                    33 , Election           Code,        is

 9   amended     by adding           Section      33.0016        to read          as follows:

10             Sec. A 33.0016.          AA REFERENCES            TO     EARLY           VOTING        BALLOT         BOARD        IN

11   THIS    CHAPTER.             A reference      in this        chapter             to an early            voting       ballot

12   board     includes           a signature       verification                 committee.

13             SECTION       A 4.04. AA Subchapter            A , Chapter                    33 , Election           Code,        is

14   amended     by adding           Section      33.008     to read             as follows:

15             Sec. A 33.008.         AA TRAINING          PROGRAM.                    The     secretary            of     state

16   shall     develop         and    maintain          a training               program        for     watchers.               The

17   training     program           must:

18                         (1) AA be available:

19                                  (A) AA entirely         via the Internet;                    and

20                                  (B) AA at any        time,        without           a requirement               for    prior

21   registration;            and

22                         (2) AA provide         a watcher           who    completes            the        training          with

23   a certificate            of completion.

24             SECTION       A 4.05. AA Section            33.031 , Election                    Code,        is amended           by

25   adding     Subsection            (b) to read        as follows:

26             (b) AA In addition               to the requirements                     of Subsection            (a),          to be

27   eligible         to    serve      as   a    watcher,         a    person           must      complete           training




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                                                                                                                      S.B. A No. A 1

 1   under     Section         33.008.

 2             SECTION         A 4.06. AA Section              33.051 , Election                   Code,        is amended           by

 3   amending        Subsections           (a),        (b),        (d),       and    (e)     and       adding        Subsections

 4   (a-1),     (g),      and (h) to read               as follows:

 5             (a) AA A        watcher          appointed            to       serve         at     a     precinct           polling

 6   place,      a   meeting           place          for     an     early          voting         ballot        board,         or    a

 7   central      counting            station          must        deliver           the    following            materials           [a

 8   certificate           of appointment]                  to the        presiding              judge        at the     time    the

 9   watcher     reports          for service:

10                        (1) AA a certificate                 of appointment;                    and

11                        (2) AA a        certificate                    of         completion                from      training

12   completed        by the watcher                 under     Section          33.008.

13             (a-1) AA A         watcher             appointed            to       serve         at     an     early        voting

14   polling     place         must    deliver          the certificates                    under        Subsection           (a) [a

15   certificate           of     appointment]                to    the       early        voting         clerk        or    deputy

16   clerk     in charge          of the        polling        place          when     the       watcher        first       reports

17   for service.

18             (b) AA The         officer            presented             with       a     watcher       ’s     certificates

19   [certificate               of     appointment]                  shall            require            the         watcher         to

20   countersign            the       certificate              of     appointment                 to     ensure         that     the

21   watcher         is     the        same          person         who         signed           the      certificate                of

22   appointment.               Except         as    provided         by      Subsection               (c),     a watcher        who

23   presents          himself            or        herself          at        the         proper         time         with      the

24   certificates              required             under       Subsection                 (a)      [a     certificate               of

25   appointment]              shall      be        accepted        for       service            unless        the     person        is

26   ineligible           to      serve        or     the      number           of     appointees               to     which     the

27   appointing           authority        is entitled              have        already          been    accepted.




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 1             (d) AA The        certificates                    [certificate]               of a watcher                 serving          at

 2   an early       voting       polling            place        shall        be retained           at the polling                  place

 3   until     voting      at the          polling              place       is concluded.               At each          subsequent

 4   time    that    the     watcher            reports           for    service,           the    watcher             shall       inform

 5   the    clerk    or deputy             in charge.                 The     officer        may       require          the    watcher

 6   to sign       the watcher            ’s name       in the officer               ’s presence,                 for comparison

 7   with     the      signature               on     the         certificate               of     appointment,                    if   the

 8   officer       is uncertain             of the watcher                   ’s identity.

 9             (e) AA If         a        watcher               is      not     accepted               for         service,             the

10   certificates          [certificate                 of appointment]                     shall       be returned                to the

11   watcher       with    a signed            statement              of the reason              for the rejection.

12             (g) AA An        election            officer             commits        an    offense           if       the    officer

13   intentionally           or knowingly                   refuses           to accept           a watcher             for    service

14   when     acceptance             of    the        watcher           is    required            by    this        section.               An

15   offense       under     this         subsection              is a Class         A misdemeanor.

16             (h) AA Before           accepting                a watcher,          the officer              presented              with    a

17   watcher       ’s certificate                of    appointment               shall           require          the     watcher          to

18   take    the    following             oath,        administered                 by the        officer:             "I swear         (or

19   affirm)       that    I will          not      disrupt           the     voting        process          or harass             voters

20   in the discharge                of my duties."

21             SECTION     A 4.07. AA Section                        33.056 , Election                 Code,       is amended              by

22   amending       Subsection              (a)       and       adding        Subsections              (e)     and      (f)     to read

23   as follows:

24             (a) AA Except              as     provided               by    Section            33.057 ,          a    watcher            is

25   entitled       to observe             any      activity            conducted           at the       location              at which

26   the     watcher       is    serving.                   A    watcher        is     entitled              to     sit       or    stand

27   [conveniently]              near          enough           to    see     and    hear        the     election             officers




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 1   conducting         the observed            activity,        except        as otherwise              prohibited         by

 2   this    chapter.

 3                (e) AA Except         as provided           by Section         33.057 (b),             a watcher         may

 4   not     be    denied      free      movement        where        election        activity            is     occurring

 5   within       the location           at which       the watcher           is serving.

 6                (f) AA In this        code,     a watcher           who    is entitled            to "observe"            an

 7   election        activity         is entitled        to sit or stand                  near    enough        to see and

 8   hear    the activity.

 9                SECTION    A 4.08. AA Subchapter               C , Chapter          33 , Election               Code,     is

10   amended        by adding      Section        33.0605        to read       as follows:

11                Sec. A 33.0605.        AA OBSERVING          DATA     STORAGE           SEALING        AND     TRANSFER.

12   (a)    A watcher         appointed          to serve        at a polling              place        in an election

13   who    is available           at the       time    of the        action        may    observe         all    election

14   activities            relating       to     closing        the     polling           place,         including         the

15   sealing        and transfer          of a memory          card,        flash    drive,        hard        drive,     data

16   storage        device,        or    other      medium       now        existing         or     later        developed

17   used    by the voting            system      equipment.

18                (b) AA Notwithstanding                any     other        provision             of    this      code,     a

19   watcher        duly     accepted      for    service        at a polling              location            is entitled

20   to follow        the    transfer          of election          materials         from        the    polling        place

21   at which        the     watcher      was    accepted           to a regional               tabulating         center,

22   the    central         counting       station,        or any        other       location            designated         to

23   process         election            materials.              The         authority             responsible             for

24   administering             a   regional         tabulating              center         or     another         location

25   where        election     materials          are    processed            must        accept        duly     appointed

26   watchers        for     service       in    the    same     manner        a watcher            is    accepted         for

27   service        under      Section         33.051      and      must      accept         the        same     number     of




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                                                                                                                S.B. A No. A 1

 1   watchers     that          may serve       under       Section        33.007 (a).

 2             SECTION      A 4.09. AA Section               33.061 (a),           Election        Code,        is amended

 3   to read     as follows:

 4             (a) AA A person            commits          an    offense         if     the    person        serves       in     an

 5   official     capacity          at a location               at which         the presence            of watchers             is

 6   authorized         and       knowingly            prevents            a    watcher         from      observing              an

 7   activity      or    procedure             the    person           knows     the     watcher        is    entitled           to

 8   observe,      including             by    taking        any       action      to    obstruct         the      view     of    a

 9   watcher     or distance             the watcher            from      the activity            or procedure            to be

10   observed      in       a    manner        that       would         make    observation            not      reasonably

11   effective.

12             SECTION      A 4.10. AA Subchapter                      C , Chapter        33 , Election             Code,        is

13   amended     by adding          Section          33.063        to read       as follows:

14             Sec. A 33.063.           AA RELIEF.                The      appointing             authority            for        a

15   watcher     who     believes             that    the       watcher         was     unlawfully           prevented           or

16   obstructed         from      the performance                of the watcher               ’s duties      may seek:

17                      (1) AA injunctive                    relief             under           Section             273.081       ,

18   including     issuance             of temporary             orders;

19                      (2) AA a         writ        of     mandamus            under         Section         161.009            or

20   273.061    ; and

21                      (3) AA any other              remedy           available        under     law.

22             SECTION      A 4.11. AA Section               34.005 , Election                 Code,      is amended             to

23   read   as follows:

24             Sec. A 34.005.           AA ACTION          BY      SECRETARY            OF     STATE.           (a)            The

25   secretary         of       state      may       refer         a    reported         violation            of    law        for

26   appropriate         action         to the attorney                 general,        if the attorney               general

27   has jurisdiction,              or to a prosecuting                    attorney           having      jurisdiction.




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                                                                                                                S.B. A No. A 1

 1             (b) AA If        the        secretary        of        state         believes          that         a    state

 2   inspector          was         unlawfully          prevented              or      obstructed                from     the

 3   performance          of    the     inspector       ’s duties,            the     secretary            of    state    may

 4   seek:

 5                      (1) AA injunctive                relief               under          Section              273.081     ,

 6   including      issuance          of temporary          orders;

 7                      (2) AA a        writ      of    mandamus             under         Section          161.009         or

 8   273.061    ; and

 9                      (3) AA any other           remedy        available           under     law.

10             SECTION       A 4.12. AA Section          86.006 , Election                   Code,        is amended        by

11   amending      Subsection               (a)   and    adding         Subsection             (a-2)        to     read     as

12   follows:

13             (a) AA A        marked        ballot      voted         under          this        chapter          must     be

14   returned       to        the     early       voting         clerk         in     the      official             carrier

15   envelope.            The        carrier      envelope            may      be      delivered            in      another

16   envelope     and must           be transported          and delivered                 only    by:

17                      (1) AA mail;

18                      (2) AA common          or contract            carrier;        or

19                      (3) AA subject            to    Subsections                 [Subsection]                (a-1)     and

20   (a-2),     in-person           delivery      by the voter           who voted           the ballot.

21             (a-2) AA An in-person               delivery           of a marked             ballot        voted       under

22   this    chapter         must    be received        by an election                official        at the time           of

23   delivery.          The     receiving         official            shall     record         the        voter ’s name,

24   signature,          and        type     of    identification                   provided          under         Section

25   63.0101      on     a     roster       prescribed           by    the     secretary             of    state.         The

26   receiving         official         shall     attest         on    the      roster        that        the     delivery

27   complies     with        this    section.




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                                                                                                                      S.B. A No. A 1

 1             SECTION    A 4.13. AA Chapter              121 ,          Election              Code,        is    amended           by

 2   adding     Section     121.004        to read        as follows:

 3             Sec. A 121.004.          AA COMMUNICATIONS                  WITH           VOTING        SYSTEMS              VENDOR

 4   PUBLIC     INFORMATION.              (a)     Except        as       provided              by    Subsection              (b),        a

 5   written      letter,          e-mail,          or     other           communication,                        including               a

 6   communication          made        confidential                by    other           law,       between            a    public

 7   official     and a voting            systems        vendor:

 8                      (1) AA is not confidential;

 9                      (2) AA is public           information              for      purposes            of Chapter               552 ,

10   Government        Code;      and

11                      (3) AA is        not     subject            to     an     exception                 to     disclosure

12   provided      by     Chapter         552 ,     Government               Code,             other        than        Sections

13   552.110     and 552.1101           , Government           Code.

14             (b) AA A     written            letter,         e-mail,               or        other         communication

15   between     a public         official         and    a voting              systems             vendor        is    excepted

16   from      disclosure          under         Chapter            552 ,       Government                  Code,           if     the

17   communication          discloses           information,               data,          or records              relating          to

18   the security         of elections            critical          infrastructure.

19             SECTION    A 4.14. AA Section              127.1301          , Election                 Code,       is       amended

20   to read     as follows:

21             Sec. A 127.1301.          AA [TALLYING,                   TABULATING,                   AND         REPORTING]

22   CENTRALLY         COUNTED          OPTICAL         SCAN        BALLOTS           [BALLOT            UNDERVOTES                AND

23   OVERVOTES].          (a)       In    an    election            using       centrally               counted             optical

24   scan     ballots,      the    undervotes            and    overvotes                 on    those        ballots             shall

25   be     tallied,       tabulated,             and     reported              by        race        and        by     election

26   precinct      in     the     form     and     manner           prescribed                 by    the     secretary              of

27   state.




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                                                                                                                 S.B. A No. A 1

 1             (b) AA An authority               operating           a central          counting           station        under

 2   this     chapter       may     not    purchase            or    use       a centrally            counted          optical

 3   ballot      scan       system         that         uses        a     data      storage           disc        on      which

 4   information,         once      written,        is capable             of being        modified.

 5             (c) AA An authority                that    purchases              system       components              in order

 6   to comply       with     this       section         is eligible             to have       100     percent          of the

 7   cost    of those       system        components           reimbursed.

 8             (d) AA Subsection            (b) applies              starting        on the earlier               of:

 9                      (1) AA the        date      on    which          the     state     certifies              the     first

10   centrally       counted        optical        ballot       scan       system        under      this     section;         or

11                      (2) AA September            1, 2026.

12             (e) AA This        subsection             and    Subsection              (d)     expire           October       1,

13   2026.

14             SECTION      A 4.15. AA Section            127.131          , Election          Code,       is amended          by

15   adding     Subsection          (f) to read           as follows:

16             (f) AA The      presiding            judge           of    the     central           counting           station

17   shall     provide       and     attest        to    a written             reconciliation               of    votes       and

18   voters     at the      close        of tabulation               for       election       day     and    again        after

19   the     central     counting           station        meets           for    the     last       time        to    process

20   late-arriving            ballots         by        mail        and        provisional            ballots.                The

21   secretary         of state      shall        create        and       promulgate          rules        and    a form       to

22   facilitate         compliance           with        this        subsection.               The     form           shall    be

23   posted     on     a website          maintained            by       the     county       along     with          election

24   returns     and results.

25             SECTION      A 4.16. AA Section            129.023          , Election          Code,       is amended          by

26   adding     Subsections          (b-2)        and (c-1)          to read       as follows:

27             (b-2) AA If         the     test     is     being          conducted           for     an     election          in




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                                                                                                             S.B. A No. A 1

 1   which     a county        election         board       has    been        established            under        Section

 2   51.002 , the general              custodian        of election             records        shall       notify      each

 3   member     of the    board       of the     test      at least         48 hours       before          the     date    of

 4   the test.        If the county           election        board       chooses        to witness           the test,

 5   each    member     shall    sign        the statement          required           by Subsection               (e)(1).

 6             (c-1) AA A test         conducted           under     this      section         must    also        require

 7   the    general      custodian           of election           records        to    demonstrate,               using     a

 8   representative            sample        of voting       system         equipment,           that        the    source

 9   code    of the equipment               has not been          altered.

10                                      ARTICLE       5.     VOTING       BY MAIL

11             SECTION    A 5.01. AA Section            84.001 (b),            Election         Code,        is amended

12   to read     as follows:

13             (b) AA Subject          to    Section       1.011 , an           [An]     application               must    be

14   submitted        in writing        and signed          by the applicant              using        ink on paper.

15   An electronic        signature           or photocopied             signature         is not permitted.

16             SECTION    A 5.02. AA Section            84.002 , Election                 Code,        as     effective

17   September        1, 2021,        is amended        by amending             Subsection        (a)        and    adding

18   Subsection        (b-1)     to read       as follows:

19             (a) AA An early         voting       ballot        application           must    include:

20                     (1) AA the       applicant          ’s name       and    the     address        at which           the

21   applicant        is registered           to vote;

22                     (1-a) AA the following                information:

23                               (A) AA the         number          of      the        applicant        ’s       driver      ’s

24   license,         election              identification               certificate,                 or         personal

25   identification            card    issued       by the Department               of Public          Safety;

26                               (B) AA if the         applicant          has     not    been    issued          a number

27   described        by Paragraph           (A),    the    last     four       digits     of the          applicant         ’s




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 1   social       security        number;           or

 2                                   (C) AA a        statement            by        the        applicant            that        the

 3   applicant          has not been            issued       a number          described         by Paragraph              (A) or

 4   (B);

 5                       (2) AA for an application                       for a ballot             to be voted             by mail

 6   on the       ground      of absence             from    the     county         of residence,                 the    address

 7   outside       the     applicant           ’s county       of residence               to which           the    ballot       is

 8   to be mailed;

 9                       (3) AA for an application                       for a ballot             to be voted             by mail

10   on   the     ground        of      age    or    disability,              the    address           of    the    hospital,

11   nursing        home        or      other        long-term           care        facility,              or     retirement

12   center,       or    of    a person            related      to      the     applicant             within       the    second

13   degree        by    affinity             or     the     third        degree           by     consanguinity,                 as

14   determined          under       Chapter         573 , Government               Code,        if the          applicant       is

15   living       at     that        address         and     that       address           is     different              from    the

16   address       at which          the applicant            is registered               to vote;

17                       (4) AA for an application                       for a ballot             to be voted             by mail

18   on the ground            of confinement               in jail,       the address             of the jail             or of a

19   person       related          to     the       applicant           within       the        degree        described          by

20   Subdivision           (3);

21                       (5) AA for an application                       for a ballot             to be voted             by mail

22   on     any    ground,           an       indication           of     each       election               for    which        the

23   applicant          is applying            for a ballot;

24                       (6) AA an        indication            of       the     ground          of     eligibility             for

25   early      voting;       and

26                       (7) AA for an application                       for a ballot             to be voted             by mail

27   on   the     ground      of     involuntary             civil       commitment,              the       address        of   the




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 1   facility        operated         by      or     under           contract           with        the     Texas         Civil

 2   Commitment       Office       or of a person               related       to the applicant                 within         the

 3   degree     of consanguinity              described              by Subdivision               (3).

 4             (b-1) AA A       person        may     use       the     number          of    a    driver     ’s license,

 5   election       identification                 certificate,              or     personal             identification

 6   card    that    has    expired        for     the     purpose       of fulfilling                the    requirement

 7   under      Subsection           (a)(1-a)            if     the     license          or       identification               is

 8   otherwise       valid.

 9             SECTION      A 5.03. AA Section                  84.011 (a),                  Election          Code,           as

10   effective       September        1, 2021,            is amended          to read          as follows:

11             (a) AA The       officially          prescribed              application             form    for     an early

12   voting     ballot      must     include:

13                     (1) AA immediately                  preceding              the        signature         space          the

14   statement:            "I    certify            that        the      information                 given         in        this

15   application         is true,        and I understand                that      giving          false     information

16   in this     application          is a crime.";

17                     (2) AA a       statement                informing            the           applicant         of        the

18   offenses       prescribed        by Sections               84.003       and 84.004 ;

19                     (3) AA spaces                for        entering             an         applicant       ’s         voter

20   registration           number      and      county         election          precinct          of registration,

21   with     a statement          informing             the    applicant           that          failure     to    furnish

22   that    information         does      not invalidate               the application;

23                     (3-a) AA a        space        for       entering          the        information           required

24   under    Section       84.002 (a)(1-a);                  and

25                     (4) AA on an application                       for a ballot            to be voted          by mail:

26                                (A) AA a       space         for     an     applicant             applying            on    the

27   ground     of absence         from     the      county         of residence              to indicate           the      date




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 1   on    or   after     which       the       applicant            can       receive           mail        at    the    address

 2   outside      the county;

 3                                  (B) AA a     space         for         indicating              the        fact       that     an

 4   applicant         whose     application              is signed             by a witness             cannot          make    the

 5   applicant        ’s mark        and    a    space      for       indicating                 the     relationship             or

 6   lack    of relationship               of the witness             to the applicant;

 7                                  (C) AA a space         for entering                an applicant                ’s telephone

 8   number,      with        a statement            informing             the       applicant           that       failure       to

 9   furnish      that    information             does     not invalidate                   the application;

10                                  (D) AA a space          or    box          for    an    applicant              applying       on

11   the     ground      of    age    or     disability              to    indicate              that        the    address       to

12   which      the    ballot        is    to   be    mailed          is    the       address           of    a facility          or

13   relative         described       by Section           84.002 (a)(3),                  if applicable;

14                                  (E) AA a space          or    box          for    an    applicant              applying       on

15   the    ground      of    confinement            in    jail       or involuntary                    civil       commitment

16   to indicate         that       the    address        to which             the    ballot       is to be mailed                is

17   the    address      of a relative              described             by Section             84.002 (a)(4)            or (7),

18   if applicable;

19                                  (F) AA a     space         for        an     applicant              applying          on     the

20   ground      of    age     or    disability           to     indicate             if    the    application              is    an

21   application         under       Section         86.0015      ;

22                                  (G) AA spaces          for       entering              the    signature,              printed

23   name,      and residence             address      of any person                 assisting           the applicant;

24                                  (H) AA a     statement            informing              the       applicant           of    the

25   condition         prescribed          by Section          81.005 ; and

26                                  (I) AA a     statement            informing              the       applicant           of    the

27   requirement         prescribed             by Section           86.003 (c).




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                                                                                                                     S.B. A No. A 1

 1                SECTION         5.04.         Subchapter           A , Chapter                84 , Election              Code,       is

 2   amended        by adding        Section          84.0111        to read             as follows:

 3                Sec. A 84.0111.          AA DISTRIBUTION                 OF         APPLICATION                  FORM.            (a)

 4   Except        as provided            by Subsection              (c)       or as otherwise                  authorized             by

 5   this     code,     an        officer       or    employee           of        this    state        or   of     a political

 6   subdivision             of    this     state        may       not    distribute              an     application               form

 7   for     an     early         voting        ballot        to     a    person           who     did       not     request           an

 8   application            under     Section         84.001 .

 9                (b) AA An       officer       or    employee           of        this    state        or   of     a political

10   subdivision            of this        state      may not use public                       funds     to facilitate              the

11   distribution             by another             person        of an application                     form      for     an early

12   voting        ballot         to a person          who     did       not       request        an application                under

13   Section        84.001 .

14                (c) AA A        political           party         or     a        candidate             for       office          may

15   distribute          an       application            form        for       an        early     voting          ballot         to    a

16   person       who did not request                  an application                    under    Section          84.001 .

17                SECTION     A 5.05. AA Section               84.032 (c),               Election        Code,          is amended

18   to read       as follows:

19                (c) AA An       applicant           may     submit           a    request        after          the      close       of

20   early     voting        by personal             appearance           by appearing                 in person         and:

21                       (1) AA returning                the       ballot           to    be     voted       by     mail     to     the

22   early     voting        clerk;        or

23                       (2) AA executing              an affidavit                 that       the applicant:

24                                   (A) AA has        not     received              the       ballot        to     be     voted       by

25   mail;     [or]

26                                   (B) AA never           requested              a ballot       to be voted              by mail;

27   or




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                                                                                                                    S.B. A No. A 1

 1                                 (C) AA received                notice        of        a    defect         under     Section

 2   87.0271(b)           or (c) or 87.0411(b)                    or (c).

 3             SECTION        5.06.        Section           84.035 , Election                      Code,     is amended         to

 4   read    as follows:

 5             Sec. A 84.035.           AA BALLOT          SENT     TO    APPLICANT.                  (a)      If     the    early

 6   voting     clerk       cancels       an application                 by an applicant                    to whom     an early

 7   voting     ballot       has been          sent,       the clerk           shall:

 8                        (1) AA remove          the       applicant          ’s name          from     the    early        voting

 9   roster;     and

10                        (2) AA make      any        other       entries        in the            records      and    take     any

11   other     action       necessary           to prevent              the    ballot          from     being       counted      if

12   returned.

13             (b) AA An      election           judge        may    permit          a person           to    whom     an    early

14   voting     ballot        has       been     sent       who     cancels          the           person    ’s application

15   for    a ballot        to be voted           by mail           in accordance                   with     Section        84.032

16   but     fails     to    return        the     ballot           to   be     voted          by     mail     to     the    early

17   voting      clerk,        deputy          early        voting        clerk,              or    presiding          judge     as

18   provided        by     that    section           to    vote        only     a provisional                 ballot        under

19   Section     63.011 .

20             SECTION       A 5.07. AA Section               86.001 , Election                     Code,     is amended         by

21   adding     Subsections             (f),     (f-1),          and (f-2)       to read             as follows:

22             (f) AA If           the           information                   required                    under        Section

23   84.002 (a)(1-a)           included           on       the     application                does     not     identify         the

24   same     voter        identified            on    the        applicant          ’s       application             for    voter

25   registration           under       Section        13.002 (c)(8),                the clerk             shall     reject     the

26   application.

27             (f-1) AA If         an    application               is    rejected             under        Subsection          (f),




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                                                                                                                   S.B. A No. A 1

 1   the    clerk     shall        provide        notice        of the       rejection            in accordance                with

 2   Subsection           (c).      The     notice       must     include           information             regarding           the

 3   ability         to     correct         or     add      information              required              under         Section

 4   84.002 (a)(1-a)               through         the      online           tool      described                  by     Section

 5   86.015 (c).

 6               (f-2) AA If an applicant                   corrects           an application                for        a ballot

 7   to     be    voted       by     mail        online         and     that        application              subsequently

 8   identifies           the same        voter    identified               on the applicant                ’s application

 9   for     voter        registration,            the      clerk       shall        provide           a   ballot         to    the

10   applicant        as provided           by this        chapter.

11               SECTION     A 5.08. AA Section             86.002 , Election                    Code,      is amended           by

12   adding      Subsections             (g),    (h),      and (i) to read             as follows:

13               (g) AA The carrier              envelope        must       include        a space         that        is hidden

14   from     view    when         the    envelope         is    sealed        for     the       voter       to        enter    the

15   following        information:

16                         (1) AA the        number         of        the      voter ’s           driver      ’s        license,

17   election        identification                certificate,                or    personal              identification

18   card    issued        by the Department               of Public           Safety;

19                         (2) AA if the voter             has not been             issued        a number             described

20   by     Subdivision            (1),     the     last        four        digits     of        the       voter ’s       social

21   security        number;        or

22                         (3) AA a      statement         by     the       applicant            that       the        applicant

23   has not been           issued       a number        described           by Subdivision                (1) or (2).

24               (h) AA A     person        may      use     the       number         of     a    driver      ’s        license,

25   election        identification                certificate,                or    personal              identification

26   card    that     has    expired        for    purposes            of Subsection              (g)      if the        license

27   or identification                is otherwise           valid.




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 1             (i) AA No record                associating             an individual              voter       with       a ballot

 2   may be created.

 3             SECTION          A 5.09. AA Section            86.011 (c),            Election          Code,          is amended

 4   to read       as follows:

 5             (c) AA If         the    return         is    not       timely,       the    clerk       shall          enter     the

 6   time     of    receipt        on     the    carrier           envelope          and    retain          it    in     a locked

 7   container            for     the     period            for    preserving              the     precinct             election

 8   records.             The    clerk         shall        destroy         the     unopened          envelope            and    its

 9   contents        after       the preservation                  period.

10             SECTION          A 5.10. AA Section                 86.015 (c),               Election                 Code,       as

11   effective        September           1, 2021,           is amended            to read       as follows:

12             (c) AA An online             tool       used       under      this     section         must:

13                         (1) AA for each            election,             record:

14                                     (A) AA each      application                for     a ballot         to be voted           by

15   mail    received           by the clerk;           and

16                                     (B) AA each      carrier             envelope        sent      to a voter           by the

17   clerk;

18                         (2) AA for          each     carrier             envelope,            record          or     assign      a

19   serially         numbered            and     sequentially                 issued         barcode            or     tracking

20   number        that    is unique           to each       envelope;             [and]

21                         (3) AA update          the       applicable             Internet        website            as soon     as

22   practicable           after        each    of the following                   events     occurs:

23                                     (A) AA receipt             by    the        early     voting          clerk         of    the

24   person    ’s application              for a ballot                to be voted          by mail;

25                                     (B) AA acceptance               or    rejection           by   the        early     voting

26   clerk    of the person              ’s application                for a ballot          to be voted               by mail;

27                                     (C) AA placement                in    the    mail      by      the     early        voting




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                                                                                                                           S.B. A No. A 1

 1   clerk     of the person               ’s official          ballot;

 2                                    (D) AA receipt                by     the       early         voting           clerk         of     the

 3   person    ’s marked           ballot;         and

 4                                    (E) AA acceptance                  or     rejection           by     the       early         voting

 5   ballot     board       of a person            ’s marked             ballot;       and

 6                         (4) AA allow            a     voter           to      add     or        correct                information

 7   required        under     Section            84.002 (a)(1-a)                 or Section             86.002 (g).

 8             SECTION       A 5.11. AA Sections                     87.027 (d),          (e),           and        (i),     Election

 9   Code,     are amended             to read          as follows:

10             (d) AA The          early         voting         clerk         shall      determine                  the     number        of

11   members        who are to compose                   the signature                 verification                 committee            and

12   shall     state        that       number           in    the     order         calling         for        the        committee        ’s

13   appointment.                 A    committee              must         consist       of        not        fewer         than        five

14   members.         In     an       election          in     which        party       alignment              is    indicated            on

15   the ballot,           each       county       chair        of a political                party        with          a nominee        or

16   aligned        candidate              on     the        ballot        shall        submit           to        the     appointing

17   authority         a     list          of    names        of     persons           eligible               to     serve        on     the

18   signature         verification                committee               in    order        of    the            county        chair ’s

19   preference.             The      authority              shall       appoint        at least              two        persons        from

20   each    list     in the order               of preference                  indicated          on each           list     to serve

21   as    members      of    the          committee.                The      same     number         of       members           must     be

22   appointed         from        each         list.          The       authority            shall        appoint           as     [the]

23   chair     of the       committee             the    highest-ranked                  person          on [from]            the       list

24   provided        by the political                   party        whose       nominee           for governor              received

25   the     most     votes           in    the     county            in      the      most        recent           gubernatorial

26   general        election.              The    authority              shall       appoint        as vice              chair     of the

27   committee         the     highest-ranked                      person         on    the     list          provided             by    the




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                                                                                                                        S.B. A No. A 1

 1   political        party          whose          nominee          for governor              received      the second           most

 2   votes     in         the       county           in     the       most         recent         gubernatorial             general

 3   election.            A vacancy            on the committee                    shall       be filled         by appointment

 4   from     the         original             list        or        from      a     new       list     submitted           by     the

 5   appropriate            county            chair.

 6             (e) AA To            be    eligible              to     serve        on     a    signature          verification

 7   committee,            a person             must       be     eligible           under        Subchapter            C , Chapter

 8   32 ,    for     service             as     a    presiding              election           judge,       except        that     the

 9   person        must    be a qualified                  voter:

10                         (1) AA of the              county,          in a countywide                election          ordered     by

11   the governor              or a county             authority             or in a primary              election;

12                         (2) AA of the              part      of the         county          in which      the    election        is

13   held,     for    an election                   ordered          by the        governor        or a county           authority

14   that    does     not cover               the entire             county        of the person          ’s residence;            or

15                         (3) AA of           the         political               subdivision,             in     an      election

16   ordered        by     an       authority             of     a    political            subdivision            other      than       a

17   county.

18             (i) AA The           signature              verification               committee          shall      compare        the

19   signature        on each            carrier           envelope          certificate,             except       those     signed

20   for    a voter         by a witness,                  with        the    signature            on the        voter ’s ballot

21   application               to   determine              whether           the     signatures           are      those     of    the

22   voter. AA The             committee             may        also        compare         the     signatures            with     any

23   known     signature             [two       or more           signatures]              of the       voter      [made     within

24   the    preceding           six      years        and]        on file          with     the    county        clerk     or voter

25   registrar            to    determine                 whether        the        signatures           are      those      of    the

26   voter. AA Except               as provided             by Subsection                 (l),     a determination               under

27   this    subsection              that       the       signatures           are       not    those     of the        voter     must




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 1   be    made      by    a    majority         vote      of    the      committee          ’s    membership.             AA The

 2   committee        shall       place     the    jacket        envelopes,           carrier            envelopes,           and

 3   applications              of voters     whose        signatures           are     not    those           of the       voter

 4   in    separate        containers            from     those      of     voters      whose         signatures              are

 5   those     of    the       voter. AA The       committee           chair        shall     deliver           the      sorted

 6   materials        to the       early     voting        ballot         board     at the        time        specified        by

 7   the board ’s presiding                judge.

 8             SECTION         A 5.12. AA Subchapter             B , Chapter           87 , Election                 Code,     is

 9   amended        by adding          Section     87.0271        to read         as follows:

10             Sec. A 87.0271.           AA OPPORTUNITY              TO    CORRECT           DEFECT:                SIGNATURE

11   VERIFICATION              COMMITTEE.           (a)         This       section          applies           to    an     early

12   voting       ballot       voted     by mail:

13                        (1) AA for       which         the     voter       did      not         sign        the     carrier

14   envelope        certificate;

15                        (2) AA for       which         it     cannot       immediately                 be     determined

16   whether        the    signature         on the        carrier         envelope          certificate              is     that

17   of the voter;

18                        (3) AA missing          any required            statement          of residence;

19                        (4) AA missing            information                or      containing                   incorrect

20   information               required      under            Section       84.002 (a)(1-a)                    or     Section

21   86.002 ; or

22                        (5) AA containing              incomplete         information             with           respect     to

23   a witness.

24             (b) AA Not later            than    the second             business      day after              a signature

25   verification              committee         discovers        a defect           described            by Subsection

26   (a)    and     before       the    committee         decides         whether       to accept              or reject           a

27   timely       delivered        ballot        under     Section        87.027 , the committee                      shall:




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                                                                                                               S.B. A No. A 1

 1                       (1) AA determine            if it would            be possible            for    the     voter     to

 2   correct       the    defect       and   return        the       carrier        envelope        before        the     time

 3   the polls       are required            to close          on election          day;     and

 4                       (2) AA return        the     carrier          envelope        to the        voter       by mail,

 5   if the     committee        determines           that       it would          be possible           for    the     voter

 6   to   correct        the    defect       and     return          the    carrier        envelope            before      the

 7   time    the polls         are required          to close          on election           day.

 8             (c) AA If       the       signature             verification            committee               determines

 9   under     Subsection          (b)(1)     that        it would         not     be possible           for    the     voter

10   to   correct        the    defect       and     return          the    carrier        envelope            before      the

11   time    the    polls      are   required        to close          on election            day,       the    committee

12   may notify          the voter       of the defect               by telephone          or e-mail           and inform

13   the voter       that      the voter       may request             to have       the voter ’s application

14   to vote       by mail      canceled         in the         manner        described        by Section             84.032

15   or come       to the      early     voting      clerk ’s office                in person        not       later      than

16   the sixth       day after         election          day to correct             the defect.

17             (d) AA If the         signature           verification              committee        takes       an action

18   described       by Subsection             (b)       or (c),       the     committee           must    take       either

19   action     described          by that       subsection            with        respect     to each          ballot      in

20   the election          to which       this      section          applies.

21             (e) AA A poll         watcher         is    entitled           to    observe         an    action        taken

22   under     Subsection        (b) or (c).

23             (f) AA The       secretary           of     state        may      prescribe          any        procedures

24   necessary       to implement            this    section.

25             (g) AA Notwithstanding                    any     other        law,     a     ballot        may      not     be

26   finally       rejected        for    a reason         listed          in Section        87.041 (b)(1),               (2),

27   or (6) before          the seventh          day after           election        day.




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                                                                                                                S.B. A No. A 1

 1             SECTION      A 5.13. AA Section                  87.041 , Election             Code,       is amended        by

 2   amending        Subsections              (b)     and        (e)    and     adding     Subsection             (d-1)     to

 3   read    as follows:

 4             (b) AA A ballot           may be accepted                 only      if:

 5                        (1) AA the          carrier            envelope           certificate            is      properly

 6   executed;

 7                        (2) AA neither             the         voter ’s         signature          on     the        ballot

 8   application           nor    the    signature               on the       carrier      envelope         certificate

 9   is     determined           to    have     been           executed       by     a   person       other       than     the

10   voter,     unless        signed     by a witness;

11                        (3) AA the       voter ’s             ballot        application           states         a     legal

12   ground     for early         voting        by mail;

13                        (4) AA the      voter           is    registered          to   vote,       if    registration

14   is required          by law;

15                        (5) AA the      address              to which       the    ballot       was     mailed       to the

16   voter,     as     indicated           by       the        application,          was    outside         the     voter ’s

17   county     of residence,             if the          ground        for   early      voting       is absence          from

18   the county        of residence;

19                        (6) AA for      a voter              to whom     a statement            of residence            form

20   was    required        to    be    sent     under           Section        86.002 (a),         the    statement        of

21   residence        is    returned           in    the        carrier       envelope        and       indicates         that

22   the     voter        satisfies            the        residence           requirements              prescribed          by

23   Section        63.0011      ; [and]

24                        (7) AA the      address              to which       the    ballot       was     mailed       to the

25   voter     is    an    address       that        is    otherwise            required       by    Sections          84.002

26   and 86.003 ; and

27                        (8) AA the      information                  required       under      Section         86.002 (g)




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                                                                                                                S.B. A No. A 1

 1   provided        by   the     voter       identifies            the      same       voter     identified              on    the

 2   voter ’s        application                for        voter          registration                  under         Section

 3   13.002 (c)(8).

 4             (d-1) AA If        a    voter        provides           the        information           required           under

 5   Section        86.002 (g)         and    it      identifies             the    same        voter    identified              on

 6   the     voter ’s       application               for       voter         registration               under        Section

 7   13.002 (c)(8),          the       signature           on    the      ballot          application           and       on    the

 8   carrier        envelope          certificate               shall        be    rebuttably           presumed           to    be

 9   the signatures             of the voter.

10             (e) AA In making              the    determination                 under    Subsection           (b)(2),          to

11   determine        whether         the     signatures           are     those        of the      voter,          the    board

12   may     also    compare          the    signatures            with       any       known     signature           [two       or

13   more     signatures]          of the          voter     [made       within         the     preceding           six    years

14   and]    on file       with       the    county        clerk      or voter          registrar         [to       determine

15   whether        the signatures            are those          of the voter].

16             SECTION      A 5.14. AA Subchapter                  C , Chapter             87 , Election             Code,       is

17   amended        by adding         Section       87.0411        to read          as follows:

18             Sec. A 87.0411.          AA OPPORTUNITY                TO CORRECT           DEFECT:            EARLY       VOTING

19   BALLOT     BOARD.          (a)     This        section        applies          to an early          voting           ballot

20   voted     by mail:

21                        (1) AA for         which      the        voter          did     not     sign        the     carrier

22   envelope        certificate;

23                        (2) AA for         which      it      cannot            immediately            be     determined

24   whether        the   signature           on the        carrier          envelope           certificate           is       that

25   of the voter;

26                        (3) AA missing           any required              statement          of residence;

27                        (4) AA missing              information                  or      containing               incorrect




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 1   information            required          under         Section              84.002 (a)(1-a)                  or     Section

 2   86.002 ; or

 3                      (5) AA containing              incomplete                information           with        respect        to

 4   a witness.

 5             (b) AA Not      later         than     the     second         business           day     after           an    early

 6   voting     ballot        board     discovers           a defect             described        by Subsection                  (a)

 7   and    before      the    board     decides            whether          to    accept        or    reject           a timely

 8   delivered        ballot     under        Section        87.041 , the board                  shall:

 9                      (1) AA determine              if it would             be possible              for    the       voter     to

10   correct     the     defect        and    return        the       carrier        envelope          before           the     time

11   the polls        are required           to close        on election             day;       and

12                      (2) AA return          the     carrier          envelope          to the         voter          by mail,

13   if the     board       determines          that      it would           be possible              for     the       voter     to

14   correct     the     defect        and    return        the       carrier        envelope          before           the     time

15   the polls        are required           to close        on election             day.

16             (c) AA If       the     early         voting           ballot         board        determines                  under

17   Subsection         (b)(1)        that     it     would       not       be    possible            for    the        voter     to

18   correct     the     defect        and    return        the       carrier        envelope          before           the     time

19   the     polls     are     required         to     close          on    election            day,        the     board        may

20   notify     the voter        of the defect              by telephone             or e-mail              and inform           the

21   voter     that    the     voter     may    request           to have         the    voter ’s application                     to

22   vote     by mail       canceled         in the       manner           described        by Section                 84.032     or

23   come    to the early         voting        clerk ’s office               in person          not later              than     the

24   sixth     day after       election         day to correct                the defect.

25             (d) AA If       the      early         voting          ballot         board        takes            an        action

26   described         by     Subsection            (b)     or    (c),        the       board     must        take           either

27   action     described         by that           subsection             with     respect       to each              ballot     in




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                                                                                                                  S.B. A No. A 1

 1   the election           to which     this     section          applies.

 2             (e) AA A poll       watcher         is    entitled          to    observe              an    action           taken

 3   under     Subsection        (b) or (c).

 4             (f) AA The       secretary         of     state       may      prescribe                any        procedures

 5   necessary        to implement         this       section.

 6             (g) AA Notwithstanding                  any     other       law,           a    ballot            may     not     be

 7   finally     rejected        for     a reason        listed        in Section               87.041 (b)(1),                 (2),

 8   or (6) before          the seventh         day after          election          day.

 9             SECTION      A 5.15. AA Section          87.0431       (b),      Election             Code,        is amended

10   to read     as follows:

11             (b) AA The       early     voting        clerk       shall,       not          later        than        the     30th

12   day     after     election         day,     deliver        notice          to    the       attorney               general,

13   including          certified              copies         of       the       carrier                   envelope             and

14   corresponding           ballot      application,              of any ballot               rejected           because:

15                      (1) AA the voter          was deceased;

16                      (2) AA the       voter        already        voted           in       person         in        the     same

17   election;

18                      (3) AA the      signatures           on the      carrier              envelope            and    ballot

19   application         were    not executed           by the same           person;

20                      (4) AA the      carrier         envelope        certificate                  lacked        a witness

21   signature;        [or]

22                      (5) AA the       carrier        envelope           certificate                 was        improperly

23   executed        by an assistant;            or

24                      (6) AA the       early        voting        ballot       board           or        the     signature

25   verification            committee         determined           that      another            violation               of     the

26   Election        Code    occurred.

27             SECTION      A 5.16. AA Sections              87.062 (a)         and           (c),     Election              Code,




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 1   are amended           to read      as follows:

 2             (a) AA On       the      direction            of     the        presiding         judge,          the     early

 3   voting     ballot        board,        in    accordance              with       Section      85.032 (b),            shall

 4   open     the    containers           [container]              for    the        early     voting       ballots       that

 5   are    to be counted            by the       board,      remove           the    contents         from     each     [the]

 6   container,        and remove           any ballots             enclosed           in ballot          envelopes       from

 7   their     envelopes.

 8             (c) AA Ballots           voted         by     mail        shall        be     tabulated          and     stored

 9   separately        from       the     ballots          voted       by personal            appearance          and    shall

10   be    separately         reported           on    the      returns        A [The        results       of     all    early

11   voting     ballots        counted        by the         board        under       this     subchapter             shall    be

12   included        in the same          return].

13             SECTION       A 5.17. AA Section              87.103 , Election                 Code,       is amended          to

14   read    as follows:

15             Sec. A 87.103.         AA COUNTING            BALLOTS           AND     PREPARING          RETURNS.            (a)

16   The     early    voting         electronic             system        ballots            counted       at     a    central

17   counting        station,        the     ballots         cast       at precinct            polling         places,        and

18   the    ballots        voted     by    mail       shall        be    tabulated           separately           [from       the

19   ballots        cast     at    precinct           polling          places]         and    shall       be    separately

20   reported        on the returns.

21             (b) AA The         early       voting          returns             prepared           at     the        central

22   counting        station       must      include         any       early     voting        results         obtained        by

23   the early       voting        ballot        board      under        Subchapter           [Subchapters]             D [and

24   E].

25             SECTION       A 5.18. AA Section              87.126 , Election                 Code,       is amended          by

26   adding     Subsection           (a-1)       to read      as follows:

27             (a-1) AA Electronic                 records             made      under        this        section        shall




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 1   record       both    sides      of any application,                 envelope,           or ballot          recorded,

 2   and    all    such     records        shall        be    provided         to    the    early        voting     ballot

 3   board,       the signature           verification           committee,             or both.

 4             SECTION      A 5.19. AA Subchapter                G , Chapter           87 , Election              Code,    is

 5   amended       by adding         Section      87.128        to read        as follows:

 6             Sec. A 87.128.          AA NOTES.          (a)         Each     member        of    an     early     voting

 7   ballot       board     and    each     member       of a signature               verification              committee

 8   is    entitled       to    take      any    notes        reasonably            necessary        to    perform        the

 9   member    ’s duties          under    this       chapter.

10             (b) AA Notes            taken          under      this         section         may         not      contain

11   personally          identifiable            information.

12             (c) AA Each         member        who     takes        notes     under        this       section         shall

13   sign    the    notes      and     deliver         them    to the        presiding        judge       or committee

14   chair,       as     applicable,            for     delivery        to     the     custodian           of     election

15   records.

16             (d) AA Notes          collected         under     this    section           shall     be preserved          in

17   the same       manner      as precinct            election        records        under       Section        66.058 .

18                                   ARTICLE      6.     ASSISTANCE            OF VOTERS

19             SECTION         6.01. AA Section              64.009 , Election              Code,        is amended        by

20   amending          Subsection          (b)    and        adding     Subsections               (e),     (f),     (f-1),

21   (g),    and (h) to read              as follows:

22             (b) AA The          regular            voting          procedures,             except            those      in

23   Subchapter          B, may      be modified             by the     election           officer       to the     extent

24   necessary         to conduct         voting        under    this        section.

25             (e) AA Except          as provided             by Section         33.057 , a poll             watcher       is

26   entitled       to observe          any activity            conducted           under     this       section.

27             (f) AA A person            who simultaneously                  assists       seven       or more     voters




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 1   voting         under            this         section           by         providing         the       voters            with

 2   transportation                 to the        polling       place      must     complete        and     sign       a form,

 3   provided           by    an     election           officer,         that     contains        the     person       ’s name

 4   and    address           and    whether         the    person         is    providing        assistance            solely

 5   under       this    section           or under        both    this        section     and Subchapter              B.

 6               (f-1) AA Subsection                 (f) does          not apply         if the person           is related

 7   to    each     voter           within        the     second       degree       by     affinity        or    the        third

 8   degree       by consanguinity,                     as determined             under       Subchapter         B , Chapter

 9   573 , Government                Code.

10               (g) AA A form            completed         under      Subsection          (f) shall        be delivered

11   to    the    secretary               of    state      as   soon      as     practicable.             The     secretary

12   shall       retain       a form           delivered        under      this    section        for   the      period       for

13   preserving              the    precinct            election         records        and    shall      make     the       form

14   available          to the attorney                 general        for inspection            upon     request.

15               (h) AA The           secretary            of      state         shall        prescribe           the        form

16   described          by Subsection               (f).

17               SECTION       A 6.02. AA Section               64.031 , Election               Code,     is amended           to

18   read    as follows:

19               Sec. A 64.031.            AA ELIGIBILITY                FOR      ASSISTANCE.              A      voter        is

20   eligible       to receive                 assistance         in marking         or reading         the      ballot,       as

21   provided       by this           subchapter,           if the voter            cannot       prepare        or read       the

22   ballot       because           of:

23                           (1) AA a          physical         disability           that       renders          the        voter

24   unable       to write          or see;        or

25                           (2) AA an         inability          to     read     the     language         in    which        the

26   ballot       is written.

27               SECTION       A 6.03. AA Subchapter                   B , Chapter         64 , Election           Code,       is




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 1   amended      by adding        Section          64.0322             to read         as follows:

 2             Sec. A 64.0322.          AA SUBMISSION                   OF       FORM        BY     ASSISTANT.                  (a) AA A

 3   person,        other      than        an    election               officer,             who    assists            a     voter     in

 4   accordance           with     this          chapter               is    required              to     complete             a     form

 5   stating:

 6                      (1) AA the          name       and    address              of    the       person        assisting            the

 7   voter;

 8                      (2) AA the          relationship                     to     the        voter           of      the      person

 9   assisting        the voter;           and

10                      (3) AA whether             the       person          assisting             the    voter        received        or

11   accepted         any      form         of     compensation                     or        other        benefit             from      a

12   candidate,         campaign,           or political                committee.

13             (b) AA The secretary                of state             shall       prescribe             the form           required

14   by   this      section.          The       form     must          be    incorporated                into       the      official

15   carrier        envelope       if      the     voter          is    voting          an    early        voting           ballot     by

16   mail     and     receives          assistance                 under          Section           86.010 ,           or     must     be

17   submitted         to    an    election            officer              at     the       time        the    voter         casts      a

18   ballot      if    the    voter        is    voting           at    a polling             place        or    under         Section

19   64.009 .

20             SECTION       A 6.04. AA Section               64.034 , Election                     Code,           is amended         to

21   read    as follows:

22             Sec. A 64.034.         AA OATH.                A        person,           other           than         an     election

23   officer,         selected        to     provide          assistance                 to    a voter           must        take     the

24   following        oath,       administered                by an election                   officer          at the         polling

25   place,      before      providing           assistance:

26             "I swear        (or affirm)             under           penalty          of perjury             that    the voter         I

27   am     assisting         represented                to       me        they        are        eligible            to      receive




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 1   assistance;           I will        not          suggest,           by word,           sign,    or gesture,               how       the

 2   voter     should           vote;        I    will         confine           my     assistance              to     reading           the

 3   ballot        to the voter,             directing                 the voter        to read          the ballot,           marking

 4   the     voter ’s       ballot,              or     directing              the     voter        to     mark        the     ballot;

 5   [answering           the      voter ’s questions,                         to     stating        propositions               on       the

 6   ballot,        and     to     naming             candidates              and,     if     listed,           their     political

 7   parties;]           I will     prepare             the       voter ’s ballot              as the       voter        directs;          I

 8   did     not    pressure         or      coerce            the       voter        into     choosing           me     to    provide

 9   assistance;            [and]        I am          not     the       voter ’s employer,                 an       agent      of       the

10   voter ’s employer,                 or an officer                    or agent           of a labor           union        to which

11   the   voter         belongs;        I will          not      communicate               information              about     how       the

12   voter         has     voted        to       another               person;         and      I    understand               that        if

13   assistance            is      provided              to        a     voter         who      is        not        eligible            for

14   assistance,           the voter ’s ballot                         may not be counted."

15             SECTION       A 6.05. AA Sections                        86.010 (e),           (h),       and      (i),        Election

16   Code,     are amended           to read            as follows:

17             (e) AA A person               who        assists          a voter         to    prepare           a ballot           to    be

18   voted     by    mail        shall       enter           on    the    official            carrier           envelope        of       the

19   voter:

20                         (1) AA the             person          ’s      signature,                printed             name,            and

21   residence           address;

22                         (2) AA the            relationship                   of     the      person           providing               the

23   assistance           to the voter;                and

24                         (3) AA whether               the       person         received           or    accepted            any    form

25   of    compensation             or       other        benefit             from      a    candidate,              campaign,            or

26   political           committee           in        exchange           for        providing           assistance            [on       the

27   official        carrier        envelope             of the voter].




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 1             (h) AA Subsection            (f) does        not apply:

 2                        (1) AA to a violation               of Subsection            (c),        if the     person        is

 3   related      to      the     voter     within      the    second         degree         by    affinity        or      the

 4   third     degree       by     consanguinity,             as     determined          under         Subchapter           B,

 5   Chapter     573 , Government              Code,        or was     physically            living        in the         same

 6   dwelling        as the voter          at the time         of the event;            or

 7                        (2) AA to a violation               of Subsection            (e),        if the     person        is

 8   related      to      the     voter     within      the    second         degree         by    affinity        or      the

 9   third     degree       by     consanguinity,             as     determined          under         Subchapter           B,

10   Chapter     573 , Government              Code.

11             (i) AA An         offense       under        this       section         for         a    violation           of

12   Subsection           (c)    is increased          to the        next     higher     category           of offense

13   if it is shown             on the trial        of an offense             under    this        section       that:

14                        (1) AA the       defendant           was       previously               convicted          of     an

15   offense     under          this   code;

16                        (2) AA the       offense         involved         a voter      65        years     of   age       or

17   older;     or

18                        (3) AA the defendant              committed         another        offense         under        this

19   section     in the same             election.

20             SECTION      A 6.06. AA Section             86.0105     , Election          Code,        is amended          by

21   amending        Subsections           (a),     (c),    and    (e)      and   adding          Subsection       (f)      to

22   read    as follows:

23             (a) AA A person            commits      an offense           if the person:

24                        (1) AA compensates            or offers           to compensate              another     person

25   for    assisting           voters     as provided         by Section          86.010 [, as part               of any

26   performance-based                 compensation          scheme       based       on the number           of voters

27   assisted        or    in     which     another        person        is   presented            with     a quota         of




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 1   voters     to be assisted             as provided            by Section        86.010 ]; or

 2                      (2) AA solicits,               receives,            or      [engages          in     another

 3   practice          that      causes         another            person    ’s     compensation            from      or

 4   employment         status        with    the     person       to be dependent            on the       number     of

 5   voters     assisted        as provided           by Section          86.010 ; or

 6                      [(3) AA with          knowledge           that      accepting        compensation            for

 7   such     activity         is    illegal,]          accepts       compensation            for     an    activity

 8   described     by Subdivision               (1) [or (2)].

 9             (c) AA An offense             under     this       section     is a state       jail    felony        [if

10   it is shown         on the       trial     of an offense               under    this    section        that     the

11   defendant         was     previously           convicted         two     or    more     times     under        this

12   section].

13             (e) AA For       purposes         of     this       section,         compensation           means      an

14   economic     benefit           as defined         by Section           38.01 , Penal       Code       [any     form

15   of     monetary         payment,         goods,        services,         benefits,        or    promises         or

16   offers     of employment,               or any     other      form     of consideration           offered        to

17   another     person        in exchange           for assisting           voters].

18             (f) AA This          section     does        not    apply     if     the    person     assisting        a

19   voter     is an attendant             or caregiver            previously        known     to the voter.

20             SECTION       A 6.07. AA Section          86.013 (b),          Election       Code,     is amended

21   to read     as follows:

22             (b) AA Spaces          must     appear        on the       reverse     side     of the       official

23   carrier     envelope           for:

24                      (1) AA indicating              the    identity        and    date    of the        election;

25   [and]

26                      (2) AA entering               the         signature,          printed          name,         and

27   residence         address       of a person         other       than    the     voter    who    deposits        the




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 1   carrier     envelope           in the     mail      or with          a common         or contract              carrier;

 2   and

 3                      (3) AA indicating              the     relationship               of that        person       to the

 4   voter.

 5             SECTION       A 6.08. AA (a)         The       secretary            of    state     shall        conduct        a

 6   study      regarding            the      implementation                  of        educational             programs,

 7   including         the        production           and      publication               on     the        secretary      of

 8   state ’s Internet              website       of    instructional                   videos,        to    help     voters

 9   with    disabilities            understand         how     to use        voting       systems           used    in this

10   state.

11             (b) AA Not      later       than     December             1, 2022,        the    secretary           of state

12   shall     submit        to    the     standing          committees            of     the     legislature            with

13   jurisdiction           over     elections          a report           on the        study     required          by this

14   section.

15             (c) AA The         secretary       of    state,            using     existing           resources,         may

16   contract        with     a qualified           vendor          to    conduct        the     study        required     by

17   this    section.

18             (d) AA This        section      expires         December           1, 2023.

19                     ARTICLE       7.     FRAUD      AND OTHER           UNLAWFUL        PRACTICES

20             SECTION       A 7.01. AA Chapter              63 ,    Election             Code,        is     amended      by

21   adding     Section       63.0111        to read         as follows:

22             Sec. A 63.0111.           AA OFFENSES         RELATED         TO PROVISIONAL                 VOTING.       (a)

23   An     election         judge        commits        an     offense            if     the      judge        knowingly

24   provides        a voter        with    a form        for       an    affidavit            required        by    Section

25   63.001     if    the     form    contains          information               that     the    judge        entered     on

26   the form     knowing          it was false.

27             (b) AA An offense            under      this     section           is a state       jail       felony.




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 1             SECTION       A 7.02. AA Sections             A 276.004      (a)     and     (b),     Election          Code,

 2   are amended           to read    as follows:

 3             (a) AA A person            commits       an offense            if,    with     respect          to another

 4   person         over      whom        the     person        has        authority           in        the     scope       of

 5   employment,           the person           knowingly:

 6                         (1) AA refuses         to    permit         the     other        person        to    be    absent

 7   from     work    on election           day     or while          early        voting     is in progress                for

 8   the purpose           of attending           the polls          to vote;       or

 9                         (2) AA subjects         or threatens              to subject            the    other       person

10   to a penalty           for    attending           the    polls     on election            day    or while         early

11   voting     is in progress             to vote.

12             (b) AA It      is     an    exception          to     the     application            of    this       section

13   that     the    person       ’s conduct        occurs          in connection            with     an election            in

14   which     the polls          are open        on election          day or while            early       voting         is in

15   progress         for     voting        for        two     consecutive             hours        outside          of     the

16   voter ’s working             hours.

17             SECTION       A 7.03. AA Sections              276.013        (a)    and     (b),     Election          Code,

18   are amended           to read    as follows:

19             (a) AA A person            commits         an offense          if the        person        knowingly          or

20   intentionally            makes       any effort          to:

21                         (1) AA influence            the    independent            exercise         of the         vote    of

22   another        in the     presence          of the       ballot       or during         the     voting      process,

23   including        by altering           the    ballot       of another           or by otherwise                 causing

24   a ballot        to not reflect             the intent          of the voter;

25                         (2) AA cause         a voter       to become        registered,               a ballot         to be

26   obtained,        or a vote       to be cast             under    false        pretenses;         [or]

27                         (3) AA cause          any      false        or      intentionally                   misleading




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 1   statement,       representation,             or information               to be provided:

 2                              (A) AA to an election                  official;       or

 3                              (B) AA on an application                    for ballot           by mail,        carrier

 4   envelope,       or any other       official           election-related                 form       or document;

 5                     (4) AA prevent          a voter         from     casting        a legal          ballot        in an

 6   election     in which      the voter         is eligible            to vote;

 7                     (5) AA provide           false       information             to      a     voter       with      the

 8   intent     of preventing          the     voter       from       voting     in an election                 in which

 9   the voter       is eligible       to vote;

10                     (6) AA cause       the    ballot          not    to reflect          the        intent       of the

11   voter;

12                     (7) AA cause       a ballot         to be voted           for     another          person       that

13   the    person     knows     to    be      deceased          or     otherwise         knows         not     to     be    a

14   qualified       or registered           voter;

15                     (8) AA cause      or enable          a vote          to be cast          more    than     once       in

16   the same     election;       or

17                     (9) AA discard           or    destroy           a    voter ’s           completed           ballot

18   without     the voter ’s consent.

19             (b) AA An offense        under        this      section         is a Class          A misdemeanor,

20   unless:

21                     (1) AA the      person        committed           the     offense         while        acting        in

22   the    person    ’s capacity         as    an     elected          official,           in    which        case     the

23   offense     is a state      jail     felony;         or

24                     (2) AA the      person        is    convicted           of   an      attempt,           in    which

25   case   the offense        is a Class        B [A] misdemeanor.

26             SECTION   A 7.04. AA Chapter               276 ,       Election      Code,          is     amended           by

27   adding     Sections       276.015,        276.016,          276.017,        276.018,          and     276.019          to




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                                                                                                               S.B. A No. A 1

 1   read   as follows:

 2             Sec. A 276.015.          AA VOTE    HARVESTING.                (a)        In this      section:

 3                       (1) AA "Benefit"          means       anything              reasonably            regarded      as a

 4   gain     or    advantage,          including         a promise             or       offer     of      employment,          a

 5   political          favor,     or     an    official           act    of        discretion,             whether      to     a

 6   person        or another      party       whose     welfare         is of interest                 to the person.

 7                       (2) AA "Vote           harvesting               services"                means         in-person

 8   interaction          with    one     or more      voters,           in the          physical          presence     of an

 9   official        ballot      or a ballot        voted      by mail,             intended          to deliver        votes

10   for a specific            candidate        or measure.

11             (b) AA A person           commits       an offense              if the          person,        directly        or

12   through        a third      party,    knowingly           provides             or offers           to provide       vote

13   harvesting         services        in exchange           for compensation                   or other       benefit.

14             (c) AA A person           commits       an offense              if the          person,        directly        or

15   through        a   third     party,        knowingly            provides             or     offers        to     provide

16   compensation          or     other        benefit        to    another           person          in    exchange       for

17   vote   harvesting           services.

18             (d) AA A    person         commits        an    offense              if     the    person        knowingly

19   collects        or possesses          a mail      ballot        or official               carrier        envelope        in

20   connection         with     vote    harvesting           services.

21             (e) AA This       section        does   not apply              to:

22                       (1) AA an        activity            not        performed               in        exchange        for

23   compensation          or a benefit;

24                       (2) AA interactions             that       do not           occur       in the       presence        of

25   the ballot         or during       the voting         process;

26                       (3) AA interactions              that           do     not        directly           involve         an

27   official        ballot      or ballot        by mail;




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 1                      (4) AA interactions                  that        are not conducted                 in-person             with

 2   a voter;     or

 3                      (5) AA activity           that        is not           designed       to deliver              votes          for

 4   or against        a specific          candidate              or measure.

 5             (f) AA An      offense          under     this           section       is     a felony          of     the    third

 6   degree.

 7             (g) AA If      conduct           that         constitutes               an     offense               under        this

 8   section     also      constitutes            an offense               under       any    other        law,       the    actor

 9   may be prosecuted              under      this     section,               the other          law,     or both.

10             (h) AA Records            necessary           to investigate                  an offense             under        this

11   section     or    any     other       section           of    this        code     shall       be     provided             by    an

12   election     officer        in an unredacted                       form    to a law          enforcement             officer

13   upon     request.          Records           obtained               under        this        subsection              are        not

14   subject     to public          disclosure.

15             Sec. A 276.016.           AA UNLAWFUL              SOLICITATION               AND     DISTRIBUTION                     OF

16   APPLICATION         TO    VOTE       BY    MAIL.             (a)      A public          official           or     election

17   official      commits          an    offense            if    the     official,               while       acting        in       an

18   official     capacity,           knowingly:

19                      (1) AA solicits           the        submission               of an application                   to vote

20   by mail    from     a person         who did not request                     an application;

21                      (2) AA distributes               an        application               to     vote       by    mail        to    a

22   person     who    did    not     request          the    application                unless          the   distribution

23   is expressly        authorized             by another              provision          of this         code;

24                      (3) AA authorizes               or        approves         the      expenditure              of     public

25   funds     to facilitate              third-party              distribution               of an application                       to

26   vote    by mail     to a person            who did not request                     the application;                    or

27                      (4) AA completes               any    portion           of an application                    to vote          by




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 1   mail    and distributes            the application             to an applicant.

 2             (b) AA An offense          under     this    section        is a state       jail     felony.

 3             (c) AA Subsection          (a)(2)      does       not   apply      if the     public       official

 4   or election         official       engaged      in the conduct             described        by Subsection

 5   (a)(2)     by providing           access      to an application              to vote       by mail         from    a

 6   publicly        accessible        Internet      website.

 7             (d) AA Subsection          (a)(4)      does       not   apply      if the     public       official

 8   or election         official       engaged      in the conduct             described        by Subsection

 9   (a)(4)     while       lawfully     assisting         the applicant           under     Section       84.003 .

10             (e) AA Subsection          (a)     does     not    apply    if the       public      official           or

11   election        official:

12                      (1) AA provided          general     information           about     voting        by mail,

13   the vote        by mail    process,         or the timelines              associated       with     voting        to

14   a person        or the public;        or

15                      (2) AA engaged          in the     conduct       described         by Subsection           (a)

16   while     acting       in the     official     ’s capacity           as a candidate           for     a public

17   elective        office.

18             (f) AA The      remedy      provided         under      this      chapter     is     cumulative,

19   and does        not restrict        any other        remedies        provided        by this        code    or by

20   law.     A violation         of this       section      is subject          to injunctive           relief        or

21   mandamus        as provided        by this     code.

22             Sec. A 276.017.         AA UNLAWFUL        DISTRIBUTION           OF EARLY       VOTING     BALLOTS

23   AND     BALLOTING         MATERIALS.           (a)      The       early     voting      clerk        or    other

24   election         official         commits      an     offense        if     the    clerk       or    official

25   knowingly         mails     or    otherwise          provides        an    early      voting        ballot        by

26   mail    or other        early     voting     by mail        ballot     materials        to a person           who

27   the     clerk     or    official       knows     did     not      submit      an   application             for     a




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 1   ballot     to be voted         by mail     under       Section       84.001 .

 2             (b) AA An offense           under     this    section          is a Class        A misdemeanor.

 3             Sec. A 276.018.        AA PERJURY        IN    CONNECTION           WITH     CERTAIN           ELECTION

 4   PROCEDURES.           (a)    A person     commits         an offense          if,    with     the      intent       to

 5   deceive,        the     person        knowingly          or     intentionally               makes        a     false

 6   statement        or swears       to the truth           of a false         statement:

 7                     (1) AA on a voter           registration               application;        or

 8                     (2) AA previously             made    while       making     an oath,       declaration,

 9   or affidavit          described        by this     code.

10             (b) AA An offense           under     this    section          is a state        jail    felony.

11             Sec. A 276.019.        AA UNLAWFUL        ALTERING          OF ELECTION           PROCEDURES.              A

12   public     official         or election         official       may not create,              alter,        modify,

13   waive,     or    suspend        any     election         standard,          practice,         or       procedure

14   mandated     by law or rule             in a manner          not expressly           authorized              by this

15   code.

16                                         ARTICLE     8.     ENFORCEMENT

17             SECTION     A 8.01. AA Subchapter              E , Chapter          31 , Election              Code,      is

18   amended     by    adding       Sections         31.128,        31.129,        and    31.130         to    read      as

19   follows:

20             Sec. A 31.128.       AA RESTRICTION            ON        ELIGIBILITY.             (a)          In       this

21   section,        "election       official"         does       not     include       a chair        of     a county

22   political        party       holding      a     primary        election         or    a    runoff         primary

23   election.

24             (b) AA A person         may     not    serve        as    an    election        official           if    the

25   person     has been         finally     convicted        of an offense             under     this      code.

26             Sec. A 31.129.       AA CIVIL       PENALTY.         (a)       In this     section,          "election

27   official"        has the meaning          assigned           by Section        31.128.




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 1             (b) AA An         election       official           may       be     liable        to    this     state        for    a

 2   civil     penalty        if the official:

 3                      (1) AA is employed                  by or is an officer                    of this            state      or a

 4   political        subdivision             of this        state;          and

 5                      (2) AA violates              a provision              of this         code.

 6             (c) AA A civil             penalty         imposed         under       this        section        may       include

 7   termination            of    the       person     ’s    employment              and      loss       of     the       person     ’s

 8   employment         benefits.

 9             Sec. A 31.130.           AA SUIT       AGAINST            ELECTION           OFFICER.                 An    action,

10   including         an        action       for     a     writ        of     mandamus,               alleging           that      an

11   election        officer          violated        a provision               of this          code        while     acting       in

12   the     officer     ’s official              capacity          may       only       be      brought         against          the

13   officer       in the officer             ’s official           capacity.

14             SECTION       A 8.02. AA Sections              232.008          (b),        (c),        and     (d),       Election

15   Code,     are amended            to read       as follows:

16             (b) AA Except            as provided           by Subsection                 (c),       a contestant              must

17   file    the     petition           not    later        than    the       later        of     the    45th        [30th]       day

18   after     the     date       the     election          records           are     publicly           available            under

19   Section       1.012         or   the     official        result          of     the      contested          election           is

20   determined.

21             (c) AA A contestant                  must     file       the       petition         not        later       than    the

22   later     of the 15th            [10th]      day after             the date         the election            records          are

23   publicly        available            under       Section           1.012       or     the     official           result        is

24   determined         in a contest            of:

25                      (1) AA a primary              or runoff           primary          election;            or

26                      (2) AA a general              or special             election           for which            a runoff       is

27   necessary         according            to the     official           result           or will           be necessary           if




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 1   the contestant            prevails.

 2              (d) AA A contestant           must    deliver,         electronically                 or otherwise,

 3   a   copy     of     the    petition       to     the        secretary         of     state        by     the    same

 4   deadline         prescribed       for the filing             of the petition.

 5              SECTION      A 8.03. AA Title        14,    Election        Code,        is amended          by adding

 6   Subtitle         D to read     as follows:

 7                              SUBTITLE      D.     OTHER       ELECTION         LAWSUITS

 8          CHAPTER      247.      LAWSUIT     ALLEGING           IMPROPER        ELECTION        ACTIVITIES

 9              Sec. A 247.001.        AA PETITION           ALLEGING         FRAUD.                 This       chapter

10   applies      to a civil        suit     in which           a candidate         in an election              alleges

11   in the petition            that   an opposing           candidate,           an agent       of the opposing

12   candidate,         or     a person      acting        on    behalf      of    the    opposing           candidate

13   with       the    candidate       ’s    knowledge            violated         any     of        the     following

14   sections         of this    code:

15                       (1) AA Section       13.007 ;

16                       (2) AA Section       64.012 ;

17                       (3) AA Section       64.036 ;

18                       (4) AA Section       84.003 ;

19                       (5) AA Section       84.0041       ;

20                       (6) AA Section       86.0051       ;

21                       (7) AA Section       86.006 ;

22                       (8) AA Section       86.010 ;

23                       (9) AA Section       276.013       ; and

24                       (10) AA Section       276.015.

25              Sec. A 247.002.        AA PROCEDURE.              A   candidate          in     an    election        may

26   file    a petition         for an action         under        this   chapter         in any county             where

27   a defendant         resided       at the time         of the election.                If the election             is




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 1   for    a statewide            office,          the     candidate                 may    also          file     the      petition           in

 2   a district        court           in Travis          County.

 3             Sec. A 247.003.            AA FILING          PERIOD           FOR PETITION.                       A candidate              in an

 4   election         may     file       a petition           for        an       action          under           this       chapter           not

 5   earlier        than      the       day    after        the        date       the       election              is     certified             and

 6   not    later     than        the    45th       day     after       the       later          of that           date       or the       date

 7   election        records           are made       publicly              available                 under       Section           1.012 .

 8             Sec. A 247.004.            AA DAMAGES.                       (a)             If         it      is           shown         by     a

 9   preponderance                of    the     evidence              that        a    defendant,                 an        agent     of       the

10   defendant,         or        a person          acting        on     behalf             of    the       defendant               with       the

11   defendant        ’s knowledge              committed              one    or more             violations                 of a section

12   described          by        Section           247.001,            the        defendant                 is        liable        to        the

13   plaintiff         for damages              in an amount                of $1,000             for each             violation.

14             (b) AA Notwithstanding                        Section              41.004 ,                 Civil         Practice              and

15   Remedies         Code,       a court           shall     award           damages            under        Subsection              (a)       to

16   the     plaintiff            irrespective               of        whether              the       plaintiff               is     awarded

17   actual     damages.

18             Sec. A 247.005.            AA ATTORNEY             ’S    FEES.               In        an    action            under        this

19   chapter,         the     court           may     award           reasonable                 attorney           ’s      fees      to       the

20   prevailing         party.

21             SECTION        A 8.04. AA Section              273.061             , Election                Code,        is amended             to

22   read    as follows:

23             Sec. A 273.061.            AA JURISDICTION.                        (a)            The        supreme           court        or    a

24   court      of     appeals            may       issue         a     writ           of     mandamus                 to     compel           the

25   performance             of     any       duty        imposed            by       law        in     connection                 with        the

26   holding        of an election                  or a political                    party       convention,                 regardless

27   of     whether         the     person          responsible                for          performing                 the     duty        is    a




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 1   public     officer.

 2             (b) AA The         court        of        criminal             appeals           may     issue        a     writ       of

 3   mandamus        to    compel        the     performance                  of    any        duty    imposed           by    law    in

 4   connection            with         the      provision,                   sequestration,                   transfer,              or

 5   impoundment            of    evidence               in    or    records              relating            to     a    criminal

 6   investigation            conducted             under       this         code    or conducted              in connection

 7   with    the conduct          of an election                 or political                  party    convention.                 If a

 8   writ     of mandamus           is issued            under       this          subsection,           it shall             include

 9   an     order        requiring         the        provision,                  sequestration,               transfer,              or

10   impoundment           of the evidence                or record.

11             SECTION      A 8.05. AA Subchapter                   D , Chapter             22 , Government                Code,      is

12   amended        by adding       Sections             22.304      and 22.305                to read       as follows:

13             Sec. A 22.304.           AA COURT         SITTING             IN    PANELS        FOR    CERTAIN           ELECTION

14   PROCEEDINGS;            CRIMINAL           OFFENSE.                 (a)         In        this     section,              "public

15   official"        means       any    person          elected,            selected,           appointed,              employed,

16   or   otherwise         designated              as    an    officer,             employee,           or    agent          of    this

17   state,     a government              agency,             a political                subdivision,              or any          other

18   public     body      established            by state           law.

19             (b) AA Notwithstanding                         any        other           law      or      rule,           a        court

20   proceeding           entitled       to priority                under         Section        22.305        and       filed      in a

21   court     of    appeals        shall        be      docketed             by    the        clerk    of     the       court       and

22   assigned        to a panel          of three             justices            determined           using       an automated

23   assignment           system.

24             (c) AA A      person,           including                 a    public            official,            commits          an

25   offense        if     the    person         communicates                     with     a    court        clerk        with       the

26   intention        of influencing                or attempting                  to influence           the composition

27   of a three-justice                 panel       assigned             a specific             proceeding            under         this




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 1   section.

 2             (d) AA An offense             under        this    section         is a Class           A misdemeanor.

 3             Sec. A 22.305.       AA PRIORITY             OF CERTAIN            ELECTION         PROCEEDINGS.               (a)

 4   The   supreme       court      or       a court        of    appeals          shall        prioritize           over     any

 5   other     proceeding          pending           or    filed        in    the     court        a    proceeding            for

 6   injunctive         relief          or    for     a    writ        of    mandamus           under        Chapter         273 ,

 7   Election         Code,     pending        or    filed        in    the       court     on    or    after        the     70th

 8   day before        a general         or special          election.

 9             (b) AA If granted,              oral       argument          for     a proceeding              described          by

10   Subsection         (a) may be given              in person             or through          electronic            means.

11             SECTION        A 8.06. AA Section            23.101 , Government                    Code,        is     amended

12   by amending         Subsection            (a)     and       adding       Subsections              (b-1)        and     (b-2)

13   to read     as follows:

14             (a) AA Except        as provided              by Subsection                (b-1),        the    [The]        trial

15   courts     of     this     state        shall        regularly           and    frequently               set    hearings

16   and     trials     of     pending        matters,            giving        preference             to     hearings        and

17   trials     of the following:

18                      (1) AA temporary              injunctions;

19                      (2) AA criminal             actions,           with     the following               actions         given

20   preference         over     other       criminal        actions:

21                                (A) AA criminal                actions        against          defendants            who    are

22   detained        in jail     pending        trial;

23                                (B) AA criminal                actions          involving         a       charge        that      a

24   person     committed          an    act    of     family          violence,           as    defined        by     Section

25   71.004 , Family           Code;

26                                (C) AA an offense               under:

27                                           (i) AA Section             21.02       or 21.11 , Penal                Code;




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 1                                        (ii) AA Chapter          22 , Penal            Code,      if    the   victim

 2   of the alleged         offense       is younger        than      17 years         of age;

 3                                        (iii) AA Section             25.02 ,       Penal         Code,        if     the

 4   victim     of the alleged         offense       is younger             than    17 years        of age;

 5                                        (iv) AA Section          25.06 , Penal            Code;

 6                                        (v) AA Section         43.25 , Penal             Code;     or

 7                                        (vi) AA Section             20A.02 (a)(7),                20A.02 (a)(8),

 8   or 20A.03 , Penal        Code;

 9                             (D) AA an offense            described           by Article           62.001 (6)(C)

10   or (D),     Code    of Criminal         Procedure;         and

11                             (E) AA criminal             actions           against         persons         who       are

12   detained     as provided         by Section           51.12 , Family            Code,        after     transfer

13   for prosecution         in criminal           court     under         Section        54.02 , Family         Code;

14                      (3) AA election         contests          and       suits         under     the     Election

15   Code;

16                      (4) AA orders        for     the     protection              of     the     family         under

17   Subtitle     B, Title     4, Family           Code;

18                      (5) AA appeals        of     final       rulings           and      decisions           of     the

19   division      of      workers    ’    compensation               of     the     Texas         Department           of

20   Insurance      regarding         workers       ’ compensation             claims        and     claims        under

21   the Federal        Employers     ’ Liability           Act and the Jones                Act;

22                      (6) AA appeals       of final        orders         of the        commissioner          of the

23   General     Land    Office      under    Section        51.3021         , Natural       Resources          Code;

24                      (7) AA actions        in    which       the    claimant           has     been     diagnosed

25   with      malignant       mesothelioma,               other           malignant         asbestos-related

26   cancer,     malignant        silica-related            cancer,          or acute       silicosis;           and

27                      (8) AA appeals       brought        under       Section        42.01       or 42.015 , Tax




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 1   Code,     of orders               of appraisal               review           boards       of        appraisal           districts

 2   established            for counties              with        a population                 of less         than        175,000.

 3             (b-1) AA Except                for     a criminal              case        in which             the     death       penalty

 4   has     been     or    may        be     assessed           or     when        it    would       otherwise               interfere

 5   with     a constitutional                      right,        the      trial         courts           of    this       state     shall

 6   prioritize            over    any other             proceeding                pending          or filed           in the court          a

 7   proceeding            for    injunctive               relief        under           Chapter          273 , Election             Code,

 8   pending        or     filed         in    the     court          on      or    after           the     70th       day     before        a

 9   general        or special              election.

10             (b-2) AA A          hearing            in     a    proceeding                described                by     Subsection

11   (b-1)      may        be     held         in     person            or     through              electronic               means,        as

12   determined          by the court.

13             SECTION          A 8.07. AA Chapter                23 ,       Government               Code,          is     amended        by

14   adding     Subchapter               D to read          as follows:

15                                     SUBCHAPTER            D.       GENERAL            PROVISIONS

16             Sec. A 23.301.               AA ASSIGNMENT               OF     CERTAIN              ELECTION            PROCEEDINGS;

17   CRIMINAL        OFFENSE.               (a)      Notwithstanding                      any       other       law        or rule,     the

18   clerk     of a district                court      in which            a proceeding               entitled              to priority

19   under     Section           23.101 (b-1)            is filed            shall        docket          the proceeding              and,

20   if more        than     one       district          court        in the         county          has       jurisdiction           over

21   the    proceeding,                randomly        assign           the    proceeding                 to a district              court

22   using     an automated                 assignment            system.

23             (b) AA Notwithstanding                        any      other          law       or    rule,           the    clerk     of     a

24   county         court         or     statutory               county            court        in        which        a    proceeding

25   entitled         to        priority            under         Section            23.101 (b-1)                 is       filed     shall

26   docket     the      proceeding               and,     if more            than       one    court          in the        county     has

27   jurisdiction            over        the proceeding,                   randomly            assign          the proceeding              to




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 1   a court       using     an automated             assignment               system.

 2             (c) AA A       person,           including             a    public         official,            commits      an

 3   offense        if the        person       communicates               with    a county          or district          clerk

 4   with     the     intention           of    influencing               or    attempting          to   influence         the

 5   court     or judge           assigned       to a proceeding                 under      this    section.

 6             (d) AA An offense               under      this       section          is a Class         A misdemeanor,

 7   except     that        the    offense       is a state           jail       felony      if it is shown            on the

 8   trial     of     the     offense          that     the     person          committed          the   offense         while

 9   acting     in the person             ’s official           capacity          as an election              official.

10             (e) AA If a district                   or county           clerk      does    not     comply      with     this

11   section,         a person           may     seek     from       the        supreme      court       or    a court      of

12   appeals        a writ        of mandamus           as provided             by Section          273.061     , Election

13   Code,     to compel           compliance           with    this       section.

14             Sec. A 23.302.            AA DEADLINES           IN        CERTAIN         ELECTION         PROCEEDINGS.

15   (a)     Not     later        than    24 hours        after       the       proceeding          is filed,       a judge

16   to whom        a case        is assigned           under    Section             23.301(b)       who      wishes     to be

17   recused        from     the proceeding              must,       before       recusal:

18                         (1) AA hear         an     application              for     any    emergency          temporary

19   relief     sought;

20                         (2) AA grant          or      deny        any        emergency           temporary          relief

21   sought;        and

22                         (3) AA set a scheduling                   order       that     provides:

23                                   (A) AA a date        for     a hearing             on any      injunction         sought

24   not    later     than        five    days      after      the    date        on which         the   proceeding        was

25   filed;     and

26                                   (B) AA discovery             and          deposition           deadlines          before

27   the expiration               of any emergency              relief          order     entered.




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 1             (b) AA The          presiding              judge        of    an     administrative                  region        shall

 2   assign     a new       judge        to a proceeding                    assigned        under          Section       23.301(b)

 3   not     later     than        12       hours     after        the       original           judge        assigned            to    the

 4   proceeding            is recused          under       Subsection               (a).

 5             (c) AA A       final           order        in      a     proceeding               filed        under         Section

 6   273.081    ,     Election               Code,        shall        be        submitted            in      writing            to    the

 7   parties         not     later          than      24     hours           after        the     judge        makes         a    final

 8   determination            in the proceeding.

 9             (d) AA If a district                   judge        does       not    comply           with    this     section,           a

10   person      may        seek        from        the    supreme               court,      the       court        of    criminal

11   appeals,         or    a court           of     appeals           a writ        of    mandamus            as    provided           by

12   Section         273.061       ,    Election            Code,           to    compel         compliance              with         this

13   section.

14             (e) AA Notwithstanding                           Section             23.101 (b-1),               a      proceeding

15   relating        to a permanent                  injunction              being        sought        in connection                 to a

16   challenge         under        Section          141.034       , Election              Code,        may    be heard           after

17   the primary           election           has been           canvassed.

18                    ARTICLE          9.     INELIGIBLE           VOTERS           AND RELATED              REFORMS

19             SECTION       A 9.01. AA Chapter                   42 ,      Code     of     Criminal            Procedure,              is

20   amended        by adding           Article       42.0194            to read       as follows:

21             Art. A 42.0194.               AA FINDING          REGARDING           FELONY           CONVICTION.                In the

22   trial     of     a felony          offense,            if    the       defendant            is    adjudged          guilty         of

23   the offense,            the court          shall:

24                         (1) AA make          an    affirmative                  finding         that       the      person          has

25   been     found        guilty       of a felony              and        enter    the        affirmative            finding          in

26   the judgment            of the case;             and

27                         (2) AA instruct                the     defendant            regarding              how      the       felony




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 1   conviction        will     impact      the defendant              ’s right          to vote        in this           state.

 2             SECTION     A 9.02. AA Article            42.01 , Code              of Criminal            Procedure,               as

 3   effective       September        1, 2021,          is amended           by adding             Section        16 to read

 4   as follows:

 5             Sec. A 16. AA In       addition            to        the          information              described                by

 6   Section     1, the        judgment        should      reflect           the    affirmative                 finding           and

 7   instruction          entered     pursuant          to Article           42.0194.

 8             SECTION     A 9.03. AA Section            64.012 , Election                    Code,       is amended               by

 9   amending       Subsections          (a)     and    (b)    and     adding        Subsections                (c)       and     (d)

10   to read     as follows:

11             (a) AA A person        commits           an offense               if the       person       knowingly               or

12   intentionally:

13                      (1) AA votes        or attempts               to vote        in an election                   in which

14   the person        knows    the person         is not eligible                  to vote;

15                      (2) AA [knowingly]               votes        or    attempts           to       vote         more       than

16   once    in an election;

17                      (3) AA [knowingly]               votes         or    attempts              to    vote         a    ballot

18   belonging       to    another         person,        or     by    impersonating                    another           person;

19   [or]

20                      (4) AA [knowingly]              marks         or attempts             to mark           any       portion

21   of   another      person     ’s ballot            without        the        consent       of       that     person,           or

22   without     specific        direction         from        that     person          how    to mark          the       ballot;

23   or

24                      (5) AA votes        or    attempts            to    vote     in       an    election              in    this

25   state     after       voting     in       another         state         in     an     election             in        which     a

26   federal     office        appears      on the        ballot           and    the     election             day    for       both

27   states     is the same         day.




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 1             (b) AA An offense                 under      this        section        is a Class             A misdemeanor

 2   [felony       of    the        second       degree         unless        the    person         is     convicted             of    an

 3   attempt.        In that            case,      the offense              is a state        jail       felony].

 4             (c) AA A person               may    not     be convicted              solely         upon       the     fact      that

 5   the    person        signed           a    provisional                ballot      affidavit              under         Section

 6   63.011        unless           corroborated                by     other        evidence             that        the      person

 7   knowingly          committed          the offense.

 8             (d) AA If           conduct          that        constitutes             an       offense             under        this

 9   section       also       constitutes               an offense           under      any      other        law,      the      actor

10   may be prosecuted                  under      this     section,          the other            law,    or both.

11             SECTION         A 9.04. AA The           change         in     law      made        by     this       article           in

12   adding      Section            64.012 (c),            Election            Code,       applies            to     an     offense

13   committed          before,           on,      or     after        the     effective            date        of     this       Act,

14   except     that          a final          conviction             for    an     offense         under        that       section

15   that   exists        on the          effective         date       of this        Act       remains         unaffected             by

16   this   article.

17     ARTICLE       10.        REPEALER;           SEVERABILITY;                 TRANSITION;             EFFECTIVE           DATE

18             SECTION         A 10.01. AA The             following              provisions             of     the        Election

19   Code   are repealed:

20                        (1) AA Section            85.062 (e);

21                        (2) AA Section            86.0105          (b);     and

22                        (3) AA Section            127.201          (f).

23             SECTION         A 10.02. AA If             any        provision             of       this         Act        or        its

24   application              to    any        person      or        circumstance             is    held         invalid,             the

25   invalidity          does       not affect           other        provisions           or applications                  of this

26   Act    that        can        be   given       effect           without         the      invalid            provision             or

27   application,             and to this           end the provisions                  of this           Act are declared




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 1   to be severable.

 2             SECTION       A 10.03. AA (a)                Except         as      otherwise               provided            by    this

 3   Act,    the     changes         in    law     made       by    this        Act      apply         only       to    an     offense

 4   committed        on     or    after        the    effective              date       of     this        Act.        An     offense

 5   committed        before         the       effective           date       of this           Act    is governed                 by the

 6   law    in effect         when       the    offense           was    committed,              and       the     former          law    is

 7   continued        in effect           for that          purpose.            For purposes                 of this         section,

 8   an    offense      was       committed           before        the       effective               date       of    this     Act       if

 9   any element          of the offense               occurred           before         that     date.

10             (b) AA The         changes         in    law        made       by    this         Act       apply       only         to    an

11   election        ordered         on    or     after       the        effective              date        of    this       Act.         An

12   election        ordered         before       the       effective           date        of this             Act    is governed

13   by the     law    in effect           when        the    election             was     ordered,              and     the    former

14   law is continued              in effect           for that           purpose.

15             (c) AA The         changes         in    law        made       by    this         Act       apply       only         to    an

16   application           to vote         an early          voting           ballot       by mail              submitted           on or

17   after     the    effective            date        of    this        Act.         An      application               to     vote       an

18   early     voting        ballot        by mail          submitted           before           the       effective           date       of

19   this    Act     is governed            by the          law     in effect            when         the       application              was

20   submitted,           and      the     former           law     is        continued               in    effect           for     that

21   purpose.

22             (d) AA The         changes         in    law        made       by    this         Act       apply       only         to    an

23   application           for       voter        registration                  submitted                  on     or     after           the

24   effective        date      of this         Act.

25             (e) AA Chapter              247,        Election            Code,           as     added           by     this        Act,

26   applies       only    to a cause             of action             for    which       the        associated             election

27   occurred        after      the effective                date       of this       Act.




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                                                                                  S.B. A No. A 1

1          SECTION   A 10.04. AA This   Act    takes     effect   on the   91st    day   after

2   the last   day of the legislative         session.




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                                                                                                S.B. A No. A 1




______________________________      AAAA ______________________________
      President   of the Senate AAAAAAAAAAAAA   Speaker   of the House

          I   hereby        certify         that        S.B. A No. A 1     passed      the      Senate       on

August A 12, A 2021,            by    the         following           vote: AA Yeas A 18,            Nays A 11;

August A 27, A 2021,         Senate    refused           to concur         in House     amendments         and

requested          appointment        of    Conference             Committee;       August A 29, A 2021,

House     granted          request     of         the     Senate;        August A 31, A 2021,          Senate

adopted            Conference         Committee                 Report        by       the          following

vote: AA Yeas A 18, Nays A 13.



                                                             ______________________________
                                                             AAAA Secretary   of the Senate

          I   hereby       certify         that     S.B. A No. A 1       passed       the     House,      with

amendments,          on    August A 27, A 2021,           by    the   following        vote: AA Yeas A 80,

Nays A 41,     one     present       not    voting;            August A 29, A 2021,         House     granted

request       of     the   Senate     for      appointment            of    Conference          Committee;

August A 31, A 2021,         House    adopted           Conference         Committee        Report     by the

following      vote: AA Yeas A 80, Nays A 41, one present                       not voting.



                                                             ______________________________
                                                             AAAA Chief Clerk of the House


Approved:


______________________________
AAAAAAAAAAAA   Date



______________________________
AAAAAAAAAAA   Governor




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                                      LEGISLATIVE BUDGET BOARD
                                             Austin, Texas

                   FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                 August 8, 2021

    TO: Honorable Bryan Hughes, Chair, Senate Committee on State Affairs

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1 by Hughes (Relating to election integrity and security, including by preventing fraud in the
        conduct of elections in this state; increasing criminal penalties; creating criminal offenses; providing
        civil penalties.), As Introduced


 No significant fiscal implication to the State is anticipated.


The bill would amend the Election Code relating to voter registration, poll watchers, certain procedural
requirements for state and county election officers, and voting by mail. It would increase criminal penalties for
certain election offenses and establish certain civil penalties. It would require a voter registrar to provide
notice of unlawful voting or registration to the Office of the Attorney General (OAG) and the Secretary of
State (SOS) and would also require the SOS to obtain citizenship information from the Department of Public
Safety (DPS) to compare on a monthly basis to voter registration records.

According to the OAG, the office does not anticipate that the legislation would give rise to civil enforcement
actions as it is likely that most county registrars would take action to correct notices of noncompliance and that
any instances of county registrar disobedience would not be difficult to litigate. The OAG anticipates an
increase in cases as a result of the passage of the bill; however, the office assumes that any legal work resulting
from the passage of this bill could be reasonably absorbed with current resources.

According to the Office of Court Administration, the bill would impose criminal penalties upon conduct which
is not currently illegal and would enhance penalties on pre­existing crimes which may increase criminal
caseloads before the courts. However, due to the deterrent effect of the new laws, it is not anticipated caseloads
would increase significantly. Therefore, no significant fiscal impact to the state court system is anticipated.

According to the Comptroller of Public Accounts, although creating a new civil penalty or expanding liability
related to a civil penalty could result in an increase to state revenue, this amount cannot be estimated.

According to DPS, no significant fiscal impact to the state is anticipated.

According to SOS, no significant fiscal impact to the state is anticipated.

This analysis assumes implementing the provisions of the bill addressing felony sanctions for criminal offenses
would not result in a significant impact on state correctional agencies.

Local Government Impact

According to the Texas Association of Counties, the bill would have a significant fiscal impact on counties.

According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
between $200,000 and $12.0 million. The county states that the most significant component of this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
                                                  Page 1 of 2costs that would vary by the number of elections
live streaming, and records retention would have significant
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
             Case and
between $200,000   5:21-cv-00844-XR
                       $12.0 million. The Document
                                          county states117-3
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                                                                 most 11/15/21    Page 91 ofof182
                                                                      significant component    this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
of at least $250,000 and an additional cost of over $5.0 million for new equipment, the acquisition of
surveillance equipment, and streaming and data storage.

A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement in jail for a term not to
exceed one year, or both. Costs associated with enforcement, prosecution and confinement could likely be
absorbed within existing resources. Revenue gain from fines imposed and collected is not anticipated to have a
significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State, 405 Department of Public Safety
LBB Staff: JMc, LBO, LCO, GP, CMA




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                                      LEGISLATIVE BUDGET BOARD
                                             Austin, Texas

                   FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                 August 9, 2021

    TO: Honorable Bryan Hughes, Chair, Senate Committee on State Affairs

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1 by Hughes (relating to election integrity and security, including by preventing fraud in the
        conduct of elections in this state; increasing criminal penalties; creating criminal offenses; providing
        civil penalties.), Committee Report 1st House, Substituted


 No significant fiscal implication to the State is anticipated.


The bill would amend the Election Code relating to voter registration, poll watchers, certain procedural
requirements for state and county election officers, and voting by mail. It would increase criminal penalties for
certain election offenses and establish certain civil penalties. It would require a voter registrar to provide
notice of unlawful voting or registration to the Office of the Attorney General (OAG) and the Secretary of
State (SOS) and would also require the SOS to obtain citizenship information from the Department of Public
Safety (DPS) to compare on a monthly basis to voter registration records.

According to the OAG, the office does not anticipate that the legislation would give rise to civil enforcement
actions as it is likely that most county registrars would take action to correct notices of noncompliance and that
any instances of county registrar disobedience would not be difficult to litigate. The OAG anticipates an
increase in cases as a result of the passage of the bill; however, the office assumes that any legal work resulting
from the passage of this bill could be reasonably absorbed with current resources.

According to the Office of Court Administration, the bill would impose criminal penalties upon conduct which
is not currently illegal and would enhance penalties on pre­existing crimes which may increase criminal
caseloads before the courts. However, due to the deterrent effect of the new laws, it is not anticipated caseloads
would increase significantly. Therefore, no significant fiscal impact to the state court system is anticipated.

According to the Comptroller of Public Accounts, although creating a new civil penalty or expanding liability
related to a civil penalty could result in an increase to state revenue, this amount cannot be estimated.

According to DPS, no significant fiscal impact to the state is anticipated.

According to SOS, no significant fiscal impact to the state is anticipated.

This analysis assumes implementing the provisions of the bill addressing felony sanctions for criminal offenses
would not result in a significant impact on state correctional agencies.

Local Government Impact

According to the Texas Association of Counties, the bill would have a significant fiscal impact on counties.

According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
between $200,000 and $12.0 million. The county states that the most significant component of this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
                                                  Page 1 of 2costs that would vary by the number of elections
live streaming, and records retention would have significant
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
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between $200,000   5:21-cv-00844-XR
                       $12.0 million. The Document
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                                                                 most 11/15/21    Page 93 ofof182
                                                                      significant component    this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
of at least $250,000 and an additional cost of over $5.0 million for new equipment, the acquisition of
surveillance equipment, and streaming and data storage.

A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement in jail for a term not to
exceed one year, or both. Costs associated with enforcement, prosecution and confinement could likely be
absorbed within existing resources. Revenue gain from fines imposed and collected is not anticipated to have a
significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State, 405 Department of Public Safety
LBB Staff: JMc, LBO, CMA, LCO, GP




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                                      LEGISLATIVE BUDGET BOARD
                                             Austin, Texas

                   FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                August 21, 2021

    TO: Honorable Trent Ashby, Chair, House Committee on Constitutional Rights & Remedies, Select

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1 by Hughes (Relating to election integrity and security, including by preventing fraud in the
        conduct of elections in this state; increasing criminal penalties; creating criminal offenses; providing
        civil penalties.), As Engrossed


 No significant fiscal implication to the State is anticipated.


The bill would amend the Election Code relating to voter registration, poll watchers, certain procedural
requirements for state and county election officers, and voting by mail. It would increase criminal penalties for
certain election offenses and establish certain civil penalties. It would require a voter registrar to provide
notice of unlawful voting or registration to the Office of the Attorney General (OAG) and the Secretary of
State (SOS) and would also require the SOS to obtain citizenship information from the Department of Public
Safety (DPS) to compare on a monthly basis to voter registration records.

According to the OAG, the office does not anticipate that the legislation would give rise to civil enforcement
actions as it is likely that most county registrars would take action to correct notices of noncompliance and that
any instances of county registrar disobedience would not be difficult to litigate. The OAG anticipates an
increase in cases as a result of the passage of the bill; however, the office assumes that any legal work resulting
from the passage of this bill could be reasonably absorbed with current resources.

According to the Office of Court Administration, the bill would impose criminal penalties upon conduct which
is not currently illegal and would enhance penalties on pre­existing crimes which may increase criminal
caseloads before the courts. However, due to the deterrent effect of the new laws, it is not anticipated caseloads
would increase significantly. Therefore, no significant fiscal impact to the state court system is anticipated.

According to the Comptroller of Public Accounts, although creating a new civil penalty or expanding liability
related to a civil penalty could result in an increase to state revenue, this amount cannot be estimated.

According to DPS, no significant fiscal impact to the state is anticipated.

According to the SOS, the provisions of the bill related to implementation of procedures within the statewide
voter registration system to correct certain defects in mail ballots would impose costs for additional
programming; however, these costs could be absorbed with existing resources.

This analysis assumes implementing the provisions of the bill addressing felony sanctions for criminal offenses
would not result in a significant impact on state correctional agencies.

Local Government Impact

According to the Texas Association of Counties, the bill would have a significant fiscal impact on counties.

According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
between $200,000 and $12.0 million. The county states that the most significant component of this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
                                                  Page 1 of 2of this estimate would be due to the required
$350,000 to $13.0 million. The most significant component
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.
According to the Texas Association of Counties, the bill would have a significant fiscal impact on counties.
            Case 5:21-cv-00844-XR Document 117-3 Filed 11/15/21 Page 95 of 182
According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
between $200,000 and $12.0 million. The county states that the most significant component of this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
of at least $250,000 and an additional cost of over $5.0 million for new equipment, the acquisition of
surveillance equipment, and streaming and data storage

According to the Williamson County Election Administrator, the bill would have an estimated annual financial
impact of between $500,000 and $5.0 million. The most significant component of this estimate would be due
to the required replacement of voting systems. In addition, provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. There would also be additional costs for reprinting new forms and envelopes,
outreach for new mail ballot requirements, and providing processing for rejected voter applications.

A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement in jail for a term not to
exceed one year, or both. Costs associated with enforcement, prosecution and confinement could likely be
absorbed within existing resources. Revenue gain from fines imposed and collected is not anticipated to have a
significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State, 405 Department of Public Safety
LBB Staff: JMc, LBO, LCO, GP, CMA




                                                    Page 2 of 2
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                                       LEGISLATIVE BUDGET BOARD
                                              Austin, Texas

                    FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                 August 24, 2021

    TO: Honorable Trent Ashby, Chair, House Committee on Constitutional Rights & Remedies, Select

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1 by Hughes (relating to election integrity and security, including by preventing fraud in the
        conduct of elections in this state; increasing criminal penalties; creating criminal offenses.),
        Committee Report 2nd House, Substituted


 No significant fiscal implication to the State is anticipated.


This bill would amend the Election Code relating to voter registration, poll watchers, certain procedural
requirements for state and county election officers, and voting by mail. It would increase criminal penalties for
certain election offenses. It would require a voter registrar to provide notice of unlawful voting or registration
to the Office of the Attorney General (OAG) and the Secretary of State (SOS).

According to the Office of Court Administration, the bill imposes criminal penalties upon conduct which is not
currently illegal and enhances penalties on pre­existing crimes which may increase criminal caseloads before
the courts. However, due to the deterrent effect of the new laws, it is not anticipated caseloads will increase
significantly and no significant fiscal impact to the state court system is anticipated.

According to the OAG, the office anticipates an increase in cases as a result of the passage of this bill; however,
the office assumes that any legal work resulting from the passage of this bill could be reasonably absorbed with
current resources.

According to the Comptroller of Public Accounts, the extent to which creating a new offense or expanding an
existing offense would impact state revenue cannot be estimated.

According to SOS, no significant fiscal impact to the state is anticipated.

This analysis assumes implementing the provisions of the bill addressing felony sanctions for criminal offenses
would not result in a significant impact on state correctional agencies.

Local Government Impact

According to the Texas Association of Counties, the bill is not anticipated to have a significant fiscal impact on
county election officials and election administrators.

According to the Election Administrators for Williamson and Chambers counties, the estimated fiscal impact
of the bill would be $10,000 and $1,000, respectively, for the cost of replacing ballot­by­mail applications and
carrier envelopes.

A Class B misdemeanor is punishable by a fine of not more than $2,000, confinement in jail for a term not to
exceed 180 days, or both. A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement
in jail for a term not to exceed one year, or both. Costs associated with enforcement, prosecution and
confinement could likely be absorbed within existing resources. Revenue gain from fines imposed and
collected is not anticipated to have a significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State         Page 1 of 2
LBB Staff: JMc, LBO, LCO, GP
exceed 180 days, or both. A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement
in jail for a term
               Casenot5:21-cv-00844-XR
                       to exceed one year, orDocument
                                              both. Costs117-3
                                                           associated with
                                                                   Filed   enforcement,
                                                                         11/15/21   Pageprosecution
                                                                                           97 of 182and
confinement could likely be absorbed within existing resources. Revenue gain from fines imposed and
collected is not anticipated to have a significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State
LBB Staff: JMc, LBO, LCO, GP




                                                   Page 2 of 2
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                                       LEGISLATIVE BUDGET BOARD
                                              Austin, Texas

                   FISCAL NOTE, 87TH LEGISLATURE 2nd CALLED SESSION 2021


                                                     August 30, 2021

    TO: Honorable Dan Patrick, Lieutenant Governor, Senate
        Honorable Dade Phelan, Speaker of the House, House of Representatives

FROM: Jerry McGinty, Director, Legislative Budget Board

 IN RE: SB1 by Hughes (relating to election integrity and security, including by preventing fraud in the
        conduct of elections in this state; increasing criminal penalties; creating criminal offenses.),
        Conference Committee Report



 Estimated Two­year Net Impact to General Revenue Related Funds for SB1, Conference Committee
 Report : an impact of $0 through the biennium ending August 31, 2023.

 The bill would make no appropriation but could provide the legal basis for an appropriation of funds to
 implement the provisions of the bill.


General Revenue­Related Funds, Five­ Year Impact:

                                                Probable Net Positive/(Negative) Impact
                                      Fiscal
                                                                   to
                                       Year
                                                   General Revenue Related Funds
                                       2022                                  $0
                                       2023                                  $0
                                       2024                                  $0
                                       2025                                  $0
                                       2026                       ($154,179,370)


All Funds, Five­Year Impact:

                                   Probable Savings/(Cost) from
                          Fiscal
                                      General Revenue Fund             Change in Number of State
                           Year
                                                1                       Employees from FY 2021
                           2022                          $0                               0.0
                           2023                          $0                               0.0
                           2024                          $0                               0.0
                           2025                          $0                               0.0
                           2026               ($154,179,370)                              0.0



Fiscal Analysis

This bill would amend the Election Code relating to voter registration, poll watchers, procedural requirements
for state and county election officers, modifications of Election Day procedures, and voting by mail. It would
increase criminal penalties for certain election offenses. It would require a voter registrar to provide notice of
unlawful voting or registration to the Office of the Attorney General (OAG) and the Secretary of State (SOS).

According to the SOS, the agency would be required: 1) to develop a training course for voter registrars not in
compliance with certain requirements and, in certain instances, inform the OAG of failure to achieve
substantial compliance following attendance at these courses; 2) to conduct periodic audits of elections in
certain counties; 3) to develop and maintain a poll watcher training program; and 4) to make certain
modifications to the Texas Election Administration  Page 1 of 3
                                                      Management    (TEAM) mail ballot tracking system in order
to allow voters to correct certain defects related to those ballots. It is anticipated that the cost of these
provisions could be absorbed within existing resources of the agency. Additionally, the bill would require the
SOS to reimburse certain changes to county voting counting systems that would be eligible for 100 percent
reimbursement by the state.
for state and county election officers, modifications of Election Day procedures, and voting by mail. It would
              Casepenalties
increase criminal   5:21-cv-00844-XR        Document
                            for certain election         117-3
                                                 offenses.       Filed
                                                           It would     11/15/21
                                                                     require a voter Page   99toofprovide
                                                                                     registrar     182 notice of
unlawful voting or registration to the Office of the Attorney General (OAG) and the Secretary of State (SOS).

According to the SOS, the agency would be required: 1) to develop a training course for voter registrars not in
compliance with certain requirements and, in certain instances, inform the OAG of failure to achieve
substantial compliance following attendance at these courses; 2) to conduct periodic audits of elections in
certain counties; 3) to develop and maintain a poll watcher training program; and 4) to make certain
modifications to the Texas Election Administration Management (TEAM) mail ballot tracking system in order
to allow voters to correct certain defects related to those ballots. It is anticipated that the cost of these
provisions could be absorbed within existing resources of the agency. Additionally, the bill would require the
SOS to reimburse certain changes to county voting counting systems that would be eligible for 100 percent
reimbursement by the state.

According to the Office of Court Administration, the bill would impose criminal penalties upon conduct which
is not currently illegal and would enhance penalties on pre​existing crimes which could increase criminal
caseloads before the courts. However, due to the deterrent effect of the new laws, it is not anticipated caseloads
will increase significantly and no significant fiscal impact to the state court system is anticipated. This analysis
assumes any increase in costs related to new civil penalties could be addressed with existing resources. It is
assumed that any additional costs imposed on the Court of Criminal Appeals related to an authorization to issue
a writ of mandamus in certain situations could be addressed with existing resources.

According to the OAG, the office anticipates an increase in cases as a result of the passage of this bill; however,
the office assumes that any legal work resulting from the passage of this bill could be reasonably absorbed with
current resources.

According to the Comptroller of Public Accounts, the extent to which creating a new offense or expanding an
existing offense would impact state revenue cannot be estimated.

This analysis assumes implementing the provisions of the bill addressing felony sanctions for criminal offenses
would not result in a significant impact on state correctional agencies.

Methodology

To address the provision of the bill related to reimbursement of local jurisdiction costs to convert scanners and
central count computers to a configuration that utilizes write­once media, the SOS anticipates that all existing
devices subject to the provisions of the bill would be required to be replaced. The cost of replacing hardware
components, including new write­once media for every device in every election, is estimated by currently
certified voting system vendors to be $116,209,750. In addition, these vendors have estimated that the cost of
replacing write­once removable media for all elections occurring in a biennium would result in a reimbursable
cost of $37,969,620. This cost would reoccur in each biennium thereafter. Because the write­only requirement
would be required as of September 1, 2026, it is assumed that these costs would be incurred in fiscal year
2026.


Local Government Impact

According to the Texas Association of Counties, the bill would have a significant fiscal impact on counties.

According to the Fort Bend County Election Administrator, the estimated fiscal impact of the bill would be
between $200,000 and $12.0 million. The county states that the most significant component of this cost would
be the replacement of voting systems to comply with the requirements of the bill at an estimated $9.0 to $12.0
million.

According to the Bexar County Election Administrator, the bill would result in an estimated fiscal impact of
$350,000 to $13.0 million. The most significant component of this estimate would be due to the required
replacement of voting systems. The county states that the provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. According to the county, there would also be additional costs for reprinting new
forms and envelopes, outreach for new mail ballot requirements, and providing processing for rejected voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
of at least $250,000 and an additional cost of over $5.0 million for new equipment, the acquisition of
surveillance equipment, and streaming and data storage
                                                  Page 2 of 3
According to the Williamson County Election Administrator, the bill would have an estimated annual financial
impact of between $500,000 and $5.0 million. The most significant component of this estimate would be due
to the required replacement of voting systems. In addition, provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. There would also be additional costs for reprinting new forms and envelopes,
outreach for new mail ballot requirements, and providing processing for rejected voter applications.
held over the course of a year. According to the county, there would also be additional costs for reprinting new
            Case 5:21-cv-00844-XR
forms and envelopes,                      Document
                      outreach for new mail            117-3 Filed
                                             ballot requirements, and11/15/21     Page 100for
                                                                      providing processing    ofrejected
                                                                                                 182 voter
applications.

According to the Cameron County Election Administrator, the bill would have an estimated annual fiscal impact
of at least $250,000 and an additional cost of over $5.0 million for new equipment, the acquisition of
surveillance equipment, and streaming and data storage

According to the Williamson County Election Administrator, the bill would have an estimated annual financial
impact of between $500,000 and $5.0 million. The most significant component of this estimate would be due
to the required replacement of voting systems. In addition, provisions of the bill related to video surveillance,
live streaming, and records retention would have significant costs that would vary by the number of elections
held over the course of a year. There would also be additional costs for reprinting new forms and envelopes,
outreach for new mail ballot requirements, and providing processing for rejected voter applications.

A Class A misdemeanor is punishable by a fine of not more than $4,000, confinement in jail for a term not to
exceed one year, or both. Costs associated with enforcement, prosecution and confinement could likely be
absorbed within existing resources. Revenue gain from fines imposed and collected is not anticipated to have a
significant fiscal implication.


Source Agencies: 212 Office of Court Admin, 302 Office of the Attorney General, 304 Comptroller of Public Accounts,
                    307 Secretary of State, 405 Department of Public Safety
LBB Staff: JMc, LCO, GP, LBO, CMA




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    MALDEF Written Testimony Before House Select Committee on Constitutional Rights
                         and Remedies Against Senate Bill 1

                                         August 23, 2021

        Chairman Ashby, Vice-Chairman Thompson, and members of the Committee,
     My name is Fatima Menendez and I am a Legislative Staff Attorney with MALDEF,
the Mexican American Legal Defense and Educational Fund, Inc. Founded in 1968,
MALDEF is the nation’s leading organization that litigates civil rights cases on behalf of
Latinos in the United States.
      MALDEF opposes Senate Bill 1. My testimony today will focus on specific provisions
of this bill, but we oppose the bill in its entirety.
     Overall, SB1 ignores the election security measures already contained in the Texas
Election Code, lacks justification for its further restrictions on voting, and violates federal
law with several provisions that limit voting rights guaranteed by federal statutes.
         Article 5 deprives voters of lawful assistance

          Article 5 of the bill interferes with voter assistance and will have a disparate,
    negative impact on Latino and Asian American voters. Assistors are relied upon by
    limited English proficient voters in order to cast their ballots. For example, one in ten
    U.S. born Latino adults does not speak English well. 1 Slightly more than half of
    naturalized U.S. citizens who are Latino do not speak English well. 2 Texas is home to
    close to two million naturalized U.S. citizens.3 These individuals, who are eligible to vote,
    are also eligible to receive language assistance when casting their ballots.

      Article 5 places unnecessary obstacles in the way of voter assistance in the polling
place. Section 5.04 requires the assistor to swear an oath under penalty of perjury stating
that the assistor secured a statement of eligibility from the voter. The oath further requires

1
  Pew Research Center, “English Proficiency on the Rise Among Latinos,” May 12, 2015, available at
https://www.pewresearch.org/hispanic/2015/05/12/english-proficiency-on-the-rise-among-latinos.

2
  U.S. Department of Commerce, “Language Use in the United States: 2011,” August 2013, available at
https://www2.census.gov/library/publications/2013/acs/acs-22/acs-22.pdf.
3
  Migration Policy Institute, “2019 State Immigration Data Profiles (Texas),” available at
https://www.migrationpolicy.org/data/state-profiles/state/demographics/TX.

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the assistor to swear that the assistor did not “encourage” the voter to choose
them. Section 5.03 requires the assistor to complete a form stating the assistor’s name
and address and relationship of the assistor to the voter. Section 5.01 requires persons
who assist voters by simultaneously transporting three or more voters to a polling place
to submit a form that contains the assistor’s name and address and whether the person
is solely providing transportation or additional assistance.
       Article 5 will deter individuals from providing assistance to voters and deny voters
the assistance to which they are legally entitled. Assistors who are concerned about
providing personal information to polling place officials, as well as those who are
concerned about making an error in providing assistance, will simply refuse to provide
assistance even when a voter requests it of them. Voters who need assistance will forgo
it if they don’t want to reveal private information when explaining their eligibility for
assistance. None of these new requirements are in the federal voter assistance law, and
SB1 will result in voters who need assistance going without it.
     Article 5 will also slow down the voting process and increase wait times at polling
places in predominantly Latino neighborhoods. Requiring assistors to fill out new forms,
and take longer oaths, will take time even when the assistors are willing to comply with
these new requirements. At polling places where there are more voters who need
language assistance, the lines will slow down, voters will be forced to wait longer to vote,
and some will leave before voting in order to meet work and family commitments.
         Sections 5.01, 5.03, 5.04, not only have a disparate, negative impact on Latino and
    Asian American voters, the provisions violate Section 208 of the federal Voting Rights
    Act.4 For example, section 5.04 adds language to the assistor’s oath that conflicts with
    Section 208 of the federal Voting Rights Act because federal law does not require that
    the voter declare eligibility for assistance.

          Section 5.04 also requires the assistor to swear that they “did not encourage” the
    voter to choose them to provide assistance. This language violates the First Amendment
    to the U.S. Constitution and Section 208 of the federal Voting Rights Act because
    individuals have the right to encourage a voter to rely on them for assistance and voters
    have the right to choose an assistor who encourages the voter to use them. Finally, the
    oath includes language that “if assistance is provided to a voter who is not eligible for
    assistance, the voter’s ballot may not be counted.” This language will cause assistors to
    inquire into the voter’s need for assistance in order to make sure the ballot is counted
    later; this invades the voter’s privacy and interferes with the right to vote with assistance.

         None of these new requirements are based on any evidence that voters who need
    assistance because of limited English proficiency or disability are involved in fraud.

         Article 1 improperly targets voters for investigation

         Sections 1.05 and 1.08 impose unnecessary obligations on the Secretary of State
    and the Office of the Attorney General. In Texas, it is a routine occurrence for individuals

4
    See 52 U.S.C. § 10508.

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to live temporarily away from the address where they are registered to vote. These
provisions force the Secretary of State and the Attorney General into quarterly analysis
of lists of individuals excused from jury duty simply because they are temporarily living
away from their registered voter address.

        The fact that someone is living away from his or her voter registration address is
not evidence of voter fraud. It is not an offense to move away from the address at which
you are registered to vote and it is a common circumstance. Young adults move away
from their parents’ homes to attend college or serve in the military. Other adults move
away from their voter registration address for a new job or for a host of other
reasons. When any of these individuals respond to a jury summons questionnaire and
truthfully state that they are not residing at their voter registration address, there is no
evidence of an “offense under Section 13.007 or other law.” There is no requirement in
Texas law to cancel your voter registration when you reside elsewhere, and the decision
whether to register to vote at a new address depends on whether the individual considers
herself to have changed domicile.

         Requiring the Secretary of State and Office of the Attorney General to compare
lists of people excused from jury duty for non-residence in the county to lists of registered
voters, and having the county or district attorney or Attorney General investigate whether
a person committed an offense under Section 13.007, are wastes of resources and do
not advance any interest in combatting fraud. The relevant offense under the Election
Code -- making a false statement when registering to vote – is simply not implicated
months or years later when a registered voter is excused from jury duty because that
voter is living out of the county at the time he or she is summoned.

      Section 1.03 requires a voter registrar to refer to the Attorney General, Secretary of
State and local prosecutor any person who the registrar determines is not eligible to vote
and registered to vote or voted in an election. This provision creates a requirement to
refer voters to law enforcement who in reality may or may not have registered while
ineligible.
      For example, Section 1.03 is not tied to a time period so it sweeps in voters who are
eligible at the time they register but who become ineligible at a later point in time. There
are many voters in this situation. For example, a young person who registers to vote at
her home address with her parents, but then moves away permanently to another county,
remains on the voter rolls as a registered voter at her parents’ address but at that point is
ineligible to vote in that county. That voter can be referred to law enforcement by the
registrar as, "a person who is not eligible to vote registered to vote." However, it's not a
crime to remain on the voter rolls after becoming ineligible and thus all of these referrals
would be inappropriate harassment of voters and possibly unconstitutional.
      Section 1.03 provides no standards and will lead to improper targeting of voters on
the rolls who share a name or other information with an ineligible individual. For example,
a father and son with the same name can reside at the same address. The father could
be excused from jury duty for non-U.S. citizenship and the son could be a U.S. citizen
properly registered to vote.


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          If registrars refer voters to law enforcement based on "weak” matching criteria, such
    as in the previous example, this would unconstitutionally infringe on the right to vote.
         Sections 1.03 will result in properly registered and qualified voters, particularly
    Latinos, being challenged for lack of U.S. citizenship when there is no evidence of
    wrongdoing. Falsely accused of illegal conduct, many of these voters will be improperly
    purged from the rolls or deterred from voting even though they have every right to vote.

         SB1 invites voter intimidation by poll watchers

      Sections 3.03, 3.04, and 3.06 strip voters of the protections of privacy and security
in the polling place and invite vigilantism by poll watchers who would be allowed to remain
in the polling place even if they were intimidating voters and interfering with the voting
process. Section 3.04 provides that poll watchers should be able to “sit or stand near
enough to see and hear the activity or procedure” they are observing, which effectively
removes the requirement that watchers maintain their distance from voters who are
marking their ballots. Section 3.04 also prohibits a watcher from being denied “free
movement where election activity is occurring.” Allowing poll watchers to roam around the
inside of a polling place and stand close to voters and election workers is entirely
unnecessary. In addition to these sections, Section 5.01 allows poll watchers to get close
to voters receiving assistance from elected officials and watch them vote by allowing poll
watchers to “observe any activity conducted under this section.”
      The only effect of allowing poll watchers to roam around, stand near voters, and
even disrupt the activities inside a polling place is to make voters uncomfortable and less
likely to remain in the polling place and vote. Section 3.06 creates an offense for election
officers who knowingly prevent a watcher from observing an action or procedure the
person knows the watcher is entitled to observe. This includes any action to obstruct the
view of a watcher or action to position a watcher at a distance from the activity or
procedure the watcher wishes to observe but is not reasonably able to do so from that
position. Section 3.03 makes it a crime for an election officer to refuse to accept a poll
watcher for service. This crime is punishable by up to one year in jail, a fine of as much
as $4,000, or both. This provision ensures that not only will voters be intimidated by
unrestrained poll watchers, but election officials will also be intimidated by the threat of
severe penalties for trying to protect voters from poll watcher interference.
      Latino voters in Texas have borne the brunt of more than a century of voter
intimidation by vigilantes as well as official law enforcement. In just one example, in 1928,
the Weslaco barrio election box was assailed by the local “Good Government League.”
According to a federal report, a crowd of 3,000 to 4,000 Anglos at the polling place
shouted “Don’t let those Mexicans in to vote. Throw them out.” while men with shotguns
protected the crowd. An estimated 200 to 300 regular Mexican American voters “did not
show up at all.”5 In another example, a South Texas lawyer, Marshall Hicks, testified in
a Texas Senate investigation that his client’s opponent, D.W. Glasscock had the Texas
Rangers selectively “investigate” Mexican American voters, and spread “a spirit of
5
 Anders, Evan. Boss Rule in South Texas: The Progressive Era. Austin: University of Texas, 1982, p.
224-6, 239, 269; Montejano, David. Anglos and Mexicans in the Making of Texas, 1836-1886. Austin:
University of Texas Press, 1987, p. 147.

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terrorism among those Mexican people.” Historian Evan Anders noted in his book that
“the mere presence of armed Rangers at the polling stations had an intimidating effect on
the Hispanic population” in Cameron, Duval, Nueces, Hidalgo, and Starr Counties.6
      Before you dismiss these examples of racially-motivated voter intimidation as relics
of the past, note that as recently as January 2021, the U.S. Capitol invaders displayed
racist messages and flaunted nooses in their effort to stop certification of an election they
claimed was infected by voter fraud.7 There is every reason to believe that removing
security measures inside polling places will result in more intimidation of Latino
voters. Now is not the time for the Texas Legislature to rescind laws that guarantee a
safe and secure environment for voters inside the polling place and to strip polling place
officials of the authority to remove poll watchers who disrupt voting.
         SB1 makes voting more difficult without justification

          Other provisions in Articles 2, 4, and 6 make voting more difficult for no reason at
    all. Limiting the types of buildings that can serve as polling places, limiting the hours of
    operation of polling places, prohibiting the solicitation and affirmative distribution of mail
    ballot applications, and criminalizing community-based voter outreach when
    organizations pay their outreach workers to assist elderly and home-bound voters who
    vote by mail, will unnecessarily impede voter participation and reduce the number of
    votes cast by eligible voters.

          MALDEF urges the Committee to take into consideration the many flaws in Senate
    Bill 1 and reject this bill.

         Thank you for your time.




6
  Anders, Evan. Boss Rule in South Texas: The Progressive Era. Austin: University of Texas, 1982, p.
252, 257, 263; Montejano, David. Anglos and Mexicans in the Making of Texas, 1836-1886. Austin:
University of Texas Press, 1987, p. 145-7.
7
  Associated Press, Years of white supremacy threats culminated in Capitol riots, available at
https://apnews.com/article/white-supremacy-threats-capitol-riots-
2d4ba4d1a3d55197489d773b3e0b0f32.


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The following news articles (pages 17-50 of this
document) are included as meeting handouts pursuant to
Rep. Lozano's request during the committee's public
hearing on SB 1.
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